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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    BRIAN BUCHANAN, et al.,                             Case No.15-cv-01696-YGR
                                                       Plaintiffs,                          ORDER GRANTING IN PART MOTION FOR
                                   8
                                                  v.                                        LEAVE TO AMEND; DENYING MOTION TO
                                   9                                                        EXCLUDE EXPERT OPINION; DENYING
                                        TATA CONSULTANCY SERVICES, LTD,                     MOTION FOR SUMMARY JUDGMENT;
                                  10
                                                                                            GRANTING IN PART AND DENYING IN PART
                                                       Defendant.                           MOTION FOR CLASS CERTIFICATION
                                  11

                                  12                                                        Dkt. Nos. 104, 106, 115, 125, 194
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 United States District Court




                                  13
                                              Plaintiffs Brian Buchanan and Christopher Slaight1 bring this putative class action against
                                  14
                                       defendant Tata Consultancy Services, Ltd. (“TCS”) for discrimination in employment practices.
                                  15
                                       Plaintiffs bring causes of action for disparate treatment under Title VII of the Civil Rights Act of
                                  16
                                       1964, 42 U.S.C. 2000e, et seq., and the Civil Rights Act of 1866, 42 U.S.C. 1981. (Dkt. No. 82,
                                  17
                                       Third Amended Complaint (“TAC”) ¶¶ 78-87.) Plaintiffs Buchanan and Slaight allege that TCS
                                  18
                                       discriminated against them in their hiring, employment, and/or termination practices based on race
                                  19
                                       and national origin. (TAC ¶¶ 1-5.) Specifically, plaintiffs claim that TCS maintains a pattern and
                                  20
                                       practice of intentional discrimination in its United States workforce whereby TCS treats persons
                                  21
                                       who are South Asian2 or of Indian national origin3 more favorably than those who are not South
                                  22
                                       Asian or of Indian national origin. (Id.)
                                  23

                                  24          1
                                                On October 27, 2016, this Court granted the parties’ stipulation that Steven Heldt be
                                  25   withdrawn as named plaintiff. (Dkt. No. 89.) Accordingly, the Court notes that the caption of this
                                       case has been revised.
                                  26          2
                                                Plaintiffs define “South Asian race” as referring to individuals who trace their ancestry to
                                  27   the Indian sub-continent. (TAC ¶ 1, fn. 1.)
                                              3
                                  28           Plaintiffs define “Indian national origin” as referring to individuals born in India, or
                                       whose ancestors came from India. (Id.)
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                                   1          Four substantive motions are now before the Court, namely plaintiffs’ motions for (i) leave

                                   2   to file a fourth amended complaint (Dkt. No. 104) and (ii) class certification (Dkt. No. 115);4 and

                                   3   TCS’ motions (iii) to exclude the expert opinion of Dr. David Neumark (Dkt. No. 106) and (iv) for

                                   4   summary judgment. (Dkt. No. 125.)5 Having carefully considered the pleadings and fully-briefed

                                   5   motions, the hearing held on October 3, 2017, and for the reasons set forth below, the Court

                                   6   ORDERS as follows:6

                                   7          1. Plaintiffs’ motion for leave to file a fourth amended complaint is GRANTED IN PART as

                                   8              to amending to add Seyed Amir Masoudi and Nobel Mandili as named plaintiffs;

                                   9              DENIED IN PART as to adding Steven Webber.7

                                  10          2. Defendants’ motion to exclude the expert opinion of Dr. Neumark is DENIED.

                                  11          3. Defendants’ motion for summary judgment is DENIED as premature as to plaintiff

                                  12              Christopher Slaight and DENIED as to plaintiff Brian Buchanan.
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                                  13          4. Plaintiffs’ motion for class certification is GRANTED as to the proposed termination

                                  14              class and DENIED as to the proposed Hiring Class.

                                  15          5. The Court APPOINTS plaintiffs’ counsel, Kotchen & Low, as class counsel.

                                  16
                                              4
                                  17            TCS makes various evidentiary objections to declarations filed by plaintiffs in support of
                                       the motion for class certification. (Dkt. No. 126.) Local rule 7-3(a) requires “[a]ny evidentiary
                                  18   and procedural objections . . . [to be] contained within the [opposition] brief or memorandum.”
                                       (Dkt. No. 194.) Because TCS failed to lodge its objections within TCS’ opposition brief, the
                                  19   Court finds the objections improper. Accordingly, the Court OVERRULES TCS’ objections.
                                              5
                                  20             In connection with its motion for summary judgment TCS has filed a request for judicial
                                       notice of: (i) an Equal Employment Opportunity Commission (“EEOC”) enforcement guideline
                                  21   and (ii) the administrative complaint filed in Office of Federal Contract Compliance Programs,
                                       United States Department of Labor v. Palantir Techs., Inc. (Dkt. No. 107, “RJN”.) Plaintiffs
                                  22   object on the ground that these documents contain disputed facts. The Court finds that EEOC
                                       enforcement guidelines and publicly filed complaints “can be accurately and readily determined
                                  23   from sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201. The Court
                                       Grants TCS’ request for judicial notice, but does not accept the truth of any matters asserted in the
                                  24   documents. The Court gives such documents their proper evidentiary weight.
                                              6
                                  25           In connection with their filings on these motions, the parties filed thirteen administration
                                       motions to seal documents. (See Dkt. No. 103, 105, 112, 113, 120, 143, 155, 163, 169, 195, 204,
                                  26   213 and 219.) The Court addresses each in separate orders.
                                              7
                                  27            During the hearing held on October 3, 2017, plaintiffs’ counsel agreed to withdraw the
                                       portion of plaintiffs’ motion for leave to amend which sought to add a new claim for disparate
                                  28   impact. Accordingly, plaintiffs’ motion for leave to amend to add a new claim for disparate
                                       impact is DENIED as moot.
                                                                                        2
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                                   1   I.       BACKGROUND

                                   2            A.     TCS’ Business and Workforce Composition

                                   3            TCS is a foreign company headquartered in Mumbai, India, with approximately 29,900

                                   4   employees in the United States. (Dkt. No. 84, Answer to Third Amended Complaint (“Answer”) ¶

                                   5   13; Dkt. No. 96-1 at 2 (active employee list).) TCS contracts with clients to provide consulting,

                                   6   technology, and outsourcing services. (Dkt. No. 141, Declaration of Umesh Kumar (“Kumar

                                   7   Decl.”) ¶ 3.) When TCS secures a consulting contract it allocates or hires individuals to serve the

                                   8   client onsite. (Dkt. No. 115-3, Ex. 3, Deposition of Balaji Ganapathy (“Ganapathy Dep.”) at 29:3-

                                   9   6, 31:20-32:5; Ex. 4, Deposition of Umesh Kumar (“Kumar Dep.”) at 38:7-39:14.) TCS staffs

                                  10   such client projects with a combination of (i) “visa-ready” individuals currently working for TCS

                                  11   overseas, (ii) individuals working for TCS in the United States which are not currently allocated to

                                  12   a client, and (iii) individuals not currently working for TCS in any capacity (“Local Hires”). (See
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                                  13   Kumar Dep. at 38:7-39:14.) During the class period,8 foreign visa workers (referred to herein as

                                  14   “Deputees” or “Expats”) represented between 75% and 89% of TCS’s workforce in the United

                                  15   States. (Declaration of G. Edward Anderson (“Anderson Decl.”) ¶ 14; Kumar Dep. at 82:17-83:4.)

                                  16   The vast majority of such Expats were South Asian. (See Anderson Decl. ¶ 14; Dkt. No. 115-3,

                                  17   Exs. 19, 20.)

                                  18            TCS’ business managers are responsible for determining the staffing needs for each TCS

                                  19   client. (Kumar Decl. ¶ 5.) The staffing process begins when a business manager initiates a staffing

                                  20   request for an open position (the “Request”) which identifies the job’s location, start date,

                                  21   responsibilities, and skills and experience required. (Kumar Decl. ¶ 10.) The Request is then

                                  22   transmitted to TCS’ Resource Management Group (“RMG”) which is responsible for helping

                                  23   business managers identify qualified internal candidates. (Id.)

                                  24            If a business manager determines that no internal candidates in the United States or

                                  25   overseas match the Request, TCS seeks to fill the position with a Local Hire. (Dkt. No. 133,

                                  26   Declaration of Shyam Chinnari (“Chinnari Decl.”) ¶ 4.) TCS’ Talent Acquisition Group (“TAG”)

                                  27
                                                8
                                  28             Plaintiffs propose to define the class period as April 14, 2014, though the date of class
                                       certification.
                                                                                           3
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                                   1   assists business managers in identifying, recruiting, and onboarding Local Hires. (Id.) The TAG

                                   2   relies partly on third-party vendors (also known as “headhunters”) who similarly work to target

                                   3   and attract qualified applicants. (Id. ¶¶ 5-7; Declaration of Brian Andrillo (“Andrillo Decl.”) ¶ 3.)9

                                   4   After consulting with third-party vendors, the TAG screens and forwards qualifying resumes to

                                   5   business managers who have ultimate authority to hire non-technical employees. (Chinnari Decl

                                   6   ¶¶ 5-7.) For positions that require technical skills, clients often are involved in the interview and

                                   7   selection process. (Chinnari Decl. ¶ 10.)

                                   8             When a TCS employee is not assigned to a client that employee is placed on “unallocated”

                                   9   or “benched” status. (Kumar Decl. ¶ 19; see also Dkt. No. 115, Ex. 7 (TCS044201-4203 at 4202);

                                  10   Ex. 9 (TCS044201-4203 at 4202).) The Resource Management Group (“RMG”) assists benched

                                  11   employees in identifying open client projects for which they are qualified and to which they can

                                  12   apply. (Kumar Dep. at 27:13-28:21 (discussing TCS038103-8110 at 8105).) Employees receive
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                                  13   their regular salary while benched, but those that remain benched for a prolonged period of time

                                  14   are proposed for termination. (Kumar Dep. 15:3-15; Dkt. No. 115, Ex. 7 (TCS055851-5854 at

                                  15   5853).)

                                  16             Plaintiffs rely on internal documents in arguing that TCS maintains a pattern and practice

                                  17   of favoring visa-ready individuals and benched expats who are predominantly South Asian when

                                  18   assigning individuals to open client projects. For example, plaintiffs point to documents showing

                                  19   that business managers are instructed to “map associates with unutilized visas and work permits

                                  20   for onsite opportunities” in the United States. (Dkt. No. 115, Ex. 8 (TCS007391-452 at 425).)

                                  21   TCS documents also indicate that TCS issued and implemented a “[l]eadership directive [] to

                                  22   utilize every visa to the maximum extent.” (Id., Ex. 12 (TCS057815); see also Ex. 13

                                  23   (TCS137485-7487 at 7485).) Plaintiffs argue that such policies result in fewer work opportunities

                                  24   for non-South Asian employees and thus a greater number of involuntary terminations because

                                  25   employees who are unable to obtain onsite client opportunities remain unallocated and are

                                  26

                                  27             9
                                                During the class period TCS contracted with more than 60 headhunters to advertise open
                                  28   positions and collect resumes. (Chinnari Decl. ¶ 6.)

                                                                                          4
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                                   1   ultimately terminated. Plaintiffs further argue that TCS uses third-party recruiters to identify and

                                   2   attract South Asian Local Hires.

                                   3          In addition to documentary evidence, plaintiffs also highlight the demographic

                                   4   composition and involuntary termination rates of TCS’ workforce in the United States. Plaintiffs

                                   5   offer the expert opinion of Dr. David Neumark to show that defendant’s U.S. workforce was

                                   6   between 72.32% and 78.91% South Asian during the class period, compared to 12.50% of the

                                   7   computer systems design and related services industry as a whole. (Dkt. No. 115, Ex. 1 (Expert

                                   8   Report of David Neumark (“Neumark Rpt.”) ¶¶ 6, 9, 14; Tbl. 1).) Further, Dr. Neumark opines

                                   9   that the involuntary termination rate for benched non-South Asian employees is 10.6% as

                                  10   compared to less than 1% for benched South Asian employees. (Dkt. No. 196, Supplemental

                                  11   Expert Report of David Neumark (“Neumark Supp. Rpt.”), Tbl. 2.) According to Dr. Neumark,

                                  12   the likelihood of obtaining such skewed results by chance is less than 1 in 1 billion. (Id. ¶ 7;
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                                  13   Neumark Rpt. ¶¶ 6, 9, 14; Tbl. 1.)

                                  14          B.      Plaintiff Buchanan

                                  15           With respect to plaintiff Buchanan, Southern California Edison (“SCE”) employed him as

                                  16   an IT professional from 1986 until February 2015. (TAC ¶ 31.) SCE informed Buchanan in July

                                  17   2014 that he and approximately 400 coworkers would be terminated and replaced by TCS

                                  18   employees. (Id. ¶ 35.) Buchanan agreed to remain in his position with SCE until early 2015 to

                                  19   train the incoming TCS employees. (Id.) Buchanan was discharged by SCE in February 2015

                                  20   when TCS assumed primary responsibility for SCE’s IT needs. (Id. ¶ 42.) In the interim,

                                  21   Buchanan attended a job fair organized by SCE for its employees awaiting termination, at which

                                  22   he met with a TCS Hiring Manager to express his interest in a position with TCS. (Id. ¶ 39.)

                                  23   Plaintiffs allege that the TCS recruitment representatives acted in a dismissive manner which

                                  24   discouraged Buchanan from inquiring about other employment opportunities. TCS made no

                                  25   further contact with Buchanan regarding his application despite Buchanan’s extensive

                                  26   qualifications and experience. (Id.) TCS hired only five of the twenty-eight members of plaintiff

                                  27   Buchanan’s team at SCE, three of whom were South Asian. (Id. ¶ 40.) Plaintiff alleges that TCS

                                  28   replaced him and the remaining members of his team with South Asian workers who had inferior
                                                                                          5
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                                   1   experience and qualifications. (Id. ¶¶ 40-41.)

                                   2          C.      Plaintiff Slaight

                                   3          With respect to plaintiff Slaight, TCS hired Slaight as a software engineer in April 2012.

                                   4   (Id. ¶ 62.) His first project was an assignment at TCS client AXA beginning in October 2012. (Id.

                                   5   ¶¶ 63-64.) Slaight alleges that TCS failed to assign him substantive work while his South Asian

                                   6   colleagues regularly received such work. (Id. ¶ 64.) TCS placed Slaight on the bench beginning

                                   7   in March 2013. (Id. ¶ 65.) Slaight claims that he actively pursued open positions at TCS while he

                                   8   was benched but was only given the opportunity to interview with one client. He was terminated

                                   9   less than one month after being benched, in April 2013. (Id. ¶¶ 65-66.) Slaight claims that TCS

                                  10   knowingly and intentionally favored persons of South Asian race and national origin in its

                                  11   employment decisions with respect to himself throughout his employment, and all others similarly

                                  12   situated. (Id. ¶ 85.) According to defendant, Slaight was terminated due to poor performance and
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                                  13   his own geographical restrictions.

                                  14   II.    LEGAL FRAMEWORK

                                  15          A.      Leave to Amend

                                  16          Under Federal Rule of Civil Procedure 15(a)(2), courts are to grant leave to amend “when

                                  17   justice so requires.” The rule is “to be applied with extreme liberality.” Owens v. Kaiser Found.

                                  18   Health Plan, Inc., 244 F.3d 708, 712 (9th Cir. 2001); see also Morongo Band of Mission Indians

                                  19   v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990). Generally, a court should determine whether to

                                  20   grant leave indulging “all inferences in favor of granting the motion.” Griggs v. Pace Am. Grp.,

                                  21   Inc., 170 F.3d 877, 880 (9th Cir. 1999). That said, “leave to amend is not to be granted

                                  22   automatically.” Jackson v. Bank of Hawaii, 902 F.2d 1385, 1387 (9th Cir. 1990).

                                  23          The Court weighs the following factors in ruling on a motion for leave to amend: (1) bad

                                  24   faith; (2) undue delay; (3) prejudice to the opposing party; (4) futility of the amendment; and (5)

                                  25   whether the movant has previously amended its pleadings. See Foman v. Davis, 371 U.S. 178,

                                  26   182 (1962); see also Johnson v. Buckley, 356 F.3d 1067, 1077 (9th Cir. 2004). Of these factors,

                                  27   “the consideration of prejudice to the opposing party [ ] carries the greatest weight.” Eminence

                                  28   Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003). “Courts may decline to grant
                                                                                         6
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                                   1   leave to amend only if there is strong evidence of ‘undue delay, bad faith or dilatory motive on the

                                   2   part of the movant, repeated failure to cure deficiencies by amendments previously allowed, undue

                                   3   prejudice to the opposing party by virtue of allowance of the amendment, [or] futility of

                                   4   amendment, etc.” Sonoma Cnty. Ass’n of Retired Emps. v. Sonoma Cnty., 708 F.3d 1109, 1117

                                   5   (9th Cir. 2013) (quoting Foman v. Davis, 371 U.S. at 182).

                                   6          B.      Daubert Standard for Expert Opinions

                                   7          Federal Rule of Evidence 702 permits opinion testimony by an expert as long as the

                                   8   witness is qualified and their opinion is relevant and reliable. An expert witness may be qualified

                                   9   by “knowledge, skill, experience, training, or education.” Fed. R. Evid. 702. The proponent of

                                  10   expert testimony has the burden of proving admissibility in accordance with Rule 702. Fed. R.

                                  11   Evid. 702, Advisory Committee Notes (2000 amendments). An expert should be permitted to

                                  12   testify if the proponent demonstrates that: (i) the expert is qualified; (ii) the evidence is relevant to
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                                  13   the suit; and (iii) the evidence is reliable. See Thompson v. Whirlpool Corp., 2008 WL 2063549,

                                  14   at *3 (W.D. Wash. 2008) (citing Daubert, 509 U.S. at 589–90).

                                  15          C.      Summary Judgment

                                  16          A party seeking summary judgment bears the initial burden of demonstrating the absence

                                  17   of a genuine issue of material fact as to the basis for the motion. Celotex Corp. v. Catrett, 477

                                  18   U.S. 317, 323 (1986). Material facts are those that might affect the outcome of the case.

                                  19   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute as to a material fact is

                                  20   “genuine” if there is sufficient evidence for a reasonable jury to return a verdict for the nonmoving

                                  21   party. Id.

                                  22          Where the moving party has the burden of proof at trial, it “must affirmatively demonstrate

                                  23   that no reasonable trier of fact could find other than for the moving party.” Soremekun v. Thrifty

                                  24   Payless, Inc., 509 F.3d 978, 984 (9th Cir. 2007). If the moving party meets its initial burden, the

                                  25   opposing party must then set out specific facts showing a genuine issue for trial in order to defeat

                                  26   the motion. Anderson, 477 U.S. at 250; Soremekun, 509 F.3d at 984; see Fed. R. Civ. P. 56(c), (e).

                                  27   The opposing party’s evidence must be more than “merely colorable” and must be “significantly

                                  28   probative.” Anderson, 477 U.S. at 249–50. Further, the opposing party may not rest upon mere
                                                                                          7
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                                   1   allegations or denials of the adverse party’s evidence, but instead must produce admissible

                                   2   evidence showing a genuine dispute of material fact exists. See Nissan Fire & Marine Ins. Co.,

                                   3   Ltd. v. Fritz Cos., Inc., 210 F.3d 1099, 1102–03 (9th Cir. 2000). “Disputes over irrelevant or

                                   4   unnecessary facts will not preclude a grant of summary judgment.” T.W. Elec. Serv., Inc. v. Pac.

                                   5   Elec. Contractors Ass’n, 809 F.2d 626, 630 (9th Cir. 1987).

                                   6          Nevertheless, when deciding a summary judgment motion, a court must view the evidence

                                   7   in the light most favorable to the nonmoving party and draw all justifiable inferences in its favor.

                                   8   Anderson, 477 U.S. at 255; Hunt v. City of Los Angeles, 638 F.3d 703, 709 (9th Cir. 2011). A

                                   9   district court may only base a ruling on a motion for summary judgment upon facts that would be

                                  10   admissible in evidence at trial. In re Oracle Corp. Sec. Litig., 627 F.3d 376, 385 (9th Cir. 2010);

                                  11   Fed. R. Civ. P. 56(c).

                                  12          D.      Class Certification
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                                  13          Under Federal Rule of Civil Procedure 23(a), a court may certify a class only where “(1)

                                  14   the class is so numerous that joinder of all members is impracticable; (2) there are questions of law

                                  15   or fact common to the class; (3) the claims or defenses of the representative parties are typical of

                                  16   the claims or defenses of the class; and (4) the representative parties will fairly and adequately

                                  17   protect the interests of the class.” Fed. R. Civ. P. 23(a). Courts refer to these four requirements as

                                  18   “numerosity, commonality, typicality[,] and adequacy of representation.” Mazza v. Am. Honda

                                  19   Motor Co., Inc., 666 F.3d 581, 588 (9th Cir. 2012).

                                  20          Once the threshold requirements of Rule 23(a) are met, plaintiffs must then show “through

                                  21   evidentiary proof” that a class is appropriate for certification under one of the provisions in Rule

                                  22   23(b). Comcast Corp. v. Behrend, 599 U.S. 27, 33 (2013). Here, plaintiffs seek certification under

                                  23   Rule 23(b)(3), which requires plaintiffs to establish “that the questions of law or fact common to

                                  24   class members predominate over any questions affecting only individual members, and that a class

                                  25   action is superior to other available methods for fairly and efficiently adjudicating the

                                  26   controversy.” Fed. R. Civ. P. 23(b)(3).10 The predominance inquiry focuses on “whether

                                  27
                                              10
                                  28            In the alternative, plaintiffs seek to certify a class with respect to particular issues under
                                       Rule 23(c)(4), namely whether (i) defendant maintained a pattern or practice of discrimination, (ii)
                                                                                           8
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                                   1   proposed classes are sufficiently cohesive to warrant adjudication by representation.” Hanlon v.

                                   2   Chrysler Corp., 150 F.3d 1011, 1022 (9th Cir. 1998) (quoting Amchem Prods., Inc. v. Windsor,

                                   3   521 U.S. 591, 623 (1997)).

                                   4            “[A] court’s class-certification analysis must be ‘rigorous’ and may ‘entail some overlap

                                   5   with the merits of the plaintiff’s underlying claim.’” Amgen, Inc. v. Conn. Ret. Plans & Trust

                                   6   Funds, 133 S. Ct. 1184, 1194 (2013) (quoting Dukes, 564 U.S. at 351); see also Mazza, 666 F.3d

                                   7   at 588. The Court considers the merits to the extent they overlap with the Rule 23 requirements.

                                   8   Ellis, 657 F.3d at 983. The Court must resolve factual disputes as “necessary to determine

                                   9   whether there was a common pattern and practice that could affect the class as a whole.” Id.

                                  10   (emphasis in original). “When resolving such factual disputes in the context of a motion for class

                                  11   certification, district courts must consider ‘the persuasiveness of the evidence presented.’” Aburto

                                  12   v. Verizon Cal., Inc., No. 11-CV-03683, 2012 WL 10381, at *2 (C.D. Cal. Jan. 3, 2012) (quoting
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                                  13   Ellis, 657 F.3d at 982), abrogated on other grounds as recognized by Shiferaw v. Sunrise Sen.

                                  14   Living Mgmt., Inc., No. 13-CV-2171, 2014 WL 12585796, at * 24n. 16 (C.D. Cal. June 11, 2014).

                                  15   “A party seeking class certification must affirmatively demonstrate [its] compliance with the

                                  16   Rule.” Dukes, 564 U.S. at 350. Ultimately, the Court exercises its discretion to determine

                                  17   whether a class should be certified. Califano v. Yamasaki, 442 U.S. 682, 703 (1979).

                                  18   III.     DISCUSSION

                                  19            A.     Motion for Leave to Amend

                                  20            Plaintiffs seek leave to amend to file a fourth amended complaint for the sole purpose of

                                  21   adding three additional named plaintiffs: Steven Webber, Seyed Amir Masoudi, and Nobel

                                  22   Mandili. Defendant opposes the motion on grounds of undue delay with regard to all three, and

                                  23   futility with regard to Webber only.

                                  24   //

                                  25   //

                                  26   //

                                  27
                                  28   punitive damages are appropriate, and (iii) injunctive relief is appropriate. Under Rule 23(c)(4),
                                       “an action may be brought or maintained as a class action with respect to particular issues.”
                                                                                         9
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                                   1                  1.      Prejudice to TCS

                                   2          The Court begins by considering whether granting leave to amend would prejudice TCS

                                   3   because “prejudice to the opposing party carries the ‘greatest weight’ in the leave to amend

                                   4   inquiry.” Dupree v. Apple, Inc., 2017 U.S. Dist. LEXIS 7765 at *12 (quoting Eminence, 316 F.3d

                                   5   at 1048, 1052). Prejudice to the defendant occurs where “amendment would increase the burden

                                   6   of necessary future discovery,” Jackson v. Bank of Haw., 902 F.2d 1385, 1387-88 (9th Cir. 1990),

                                   7   or “require[] that the defendant develop entirely different defenses.” Coleman v. Quaker Oats Co.,

                                   8   232 F.3d 1271, 1292 (9th Cir. 2000).

                                   9          TCS does not argue that adding Webber, Masoudi, and Mandili (the “proposed additional

                                  10   plaintiffs”) as named plaintiffs will result in prejudice and the Court so finds. With regard to the

                                  11   burden of future discovery, additional discovery will necessarily be limited to documents and

                                  12   depositions involving proposed additional plaintiffs and thus will not increase TCS’s burden
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                                  13   significantly.11 Finally, amendment would not require TCS to “develop entirely different

                                  14   defenses,” Coleman, 232 F.3d at 1292, because the claims asserted by the proposed additional

                                  15   plaintiffs are identical to those asserted by Buchanan and Slaight. Finally, granting leave to

                                  16   amend will not prejudice TCS because TCS would face claims by the proposed additional

                                  17   plaintiffs regardless of whether the Court grants leave to amend. For example, were this Court to

                                  18   deny leave to amend, the proposed additional plaintiffs could file individual lawsuits alleging

                                  19   claims similar to those asserted here.

                                  20                  2.      Undue Delay

                                  21          After prejudice, “[u]ndue delay is the next factor a court considers in deciding whether to

                                  22   grant leave to amend.” Dupree, 2017 U.S. Dist. LEXIS 7765 at *14 (citing Foman, 371 U.S. at

                                  23   182). “[L]ate amendments to assert new theories are not reviewed favorably when the facts and

                                  24   the theory have been known to the party seeking amendment since the inception of the cause of

                                  25   action." Allen v. City of Beverly Hills, 911 F.2d 367, 374 (9th Cir. 1990). However, “‘[u]ndue

                                  26

                                  27          11
                                                 When propounding discovery, plaintiffs are cautioned to adhere to their representation
                                  28   that “discovery can be taken while Plaintiffs complete their discovery of Tata” and “[a]dding these
                                       three individuals will do little to increase Tata’s burden.” (Dkt. No. 104 at 9.)
                                                                                           10
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                                   1   delay cannot alone justify the denial of a motion to amend.’” Square 1 Bank v. Lo, 2014 WL

                                   2   1154031, at *1 (N.D. Cal. 2014) (citing Owens v. Kaiser Found. Health Plan, Inc., 244 F.3d 708,

                                   3   712-13 (9th Cir. 2001)).

                                   4          Defendant argues that plaintiffs cannot explain their “significant delay” in moving for

                                   5   leave to amend nearly two years after this lawsuit was filed. (Dkt. No. 111 at 6.) Specifically,

                                   6   defendant contends that plaintiffs’ counsel was aware that Massoudi had a potential discrimination

                                   7   claim against TCS because six months prior to moving for leave to amend counsel attempted to

                                   8   negotiate an individualized agreement on Massoudi’s behalf. Defendant further asserts that

                                   9   plaintiffs delayed in seeking leave to add Webber because Webber “threatened to join the lawsuit

                                  10   five months [prior to plaintiffs’ seeking leave to amend], but never did.” (Id.)

                                  11          Defendant does not persuade. With regard to Massoudi, the mere fact that plaintiffs’

                                  12   counsel attempted to negotiate an individual settlement on behalf of Massoudi several months
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                                  13   before seeking leave to add him as a named plaintiff does not establish undue delay. Defendant

                                  14   cites no authority for the proposition that named plaintiffs must be added within a certain date of

                                  15   attempting to negotiate an individual settlement. With regard to Webber, plaintiffs represent that

                                  16   Webber retained counsel just one day before plaintiffs moved for leave to amend. This is

                                  17   sufficient. Finally, and in any event, “‘[u]ndue delay cannot alone justify the denial of a motion to

                                  18   amend.’” Square 1 Bank, 2014 WL 1154031, at * (citing Owens, 244 F.3d at 712-13).

                                  19                  3.      Futility

                                  20          Here, TCS focuses its attack on Webber. Defendant does not argue that the proposed

                                  21   amendment is futile with regard to Massoudi or Mandili. Specifically, defendant argues that

                                  22   Webber signed an arbitration agreement and class action waiver which bars Webber from bringing

                                  23   claims in federal court. See AT&T Mobility v. Concepcion, 563 U.S. 333, 344 (2011). The

                                  24   “Mutual Agreement To Arbitrate Claims” which Webber signed provides that TCS and Webber

                                  25   “mutually consent to the resolution by arbitration of all claims or controversies (“claims”), past,

                                  26   present, and future.” (Dkt. No. 111, Declaration of Michelle M. Marr (“Marr Decl.) ¶ 4, Ex. 5.)

                                  27   Webber’s arbitration agreement further states “[a]rbitrable claims include . . . claims for

                                  28   discrimination [] including, but not limited to race . . . [and] national origin.” (Id.) This punitive
                                                                                          11
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                                   1   class action plainly falls under the purview of the arbitration agreement. The issue is whether the

                                   2   agreement is enforceable.

                                   3             In arguing that the arbitration agreement is not enforceable, plaintiffs rely primarily on

                                   4   Morris, a Fair Labor Standards Act case in which the Ninth Circuit held unenforceable a waiver

                                   5   “precluding [plaintiffs] from bringing, in any forum, a concerted legal claim” because it violated

                                   6   the National Labor Relations Act (“NLRA”). Morris v. Ernst & Young, LLP, 834 F.3d 975, 979

                                   7   (9th Cir. 2016), cert. granted, 137 S. Ct. 809 (2017). Plaintiff does not persuade, as Morris is

                                   8   distinguishable. In holding the waiver in Morris unenforceable, the Ninth Circuit reasoned that the

                                   9   “NLRA establishes a core right to concerted activity. Irrespective of the forum in which disputes

                                  10   are resolved, employees must be able to act in the forum together.” Id. at 989–990 (emphasis in

                                  11   original). By contrast, the arbitration agreement which Webber signed contains no language

                                  12   preventing Webber from bringing claims in an arbitration forum together with other employees.
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                                  13   Rather, the waiver simply bars Webber from “initiat[ing] or prosecut[ing] any lawsuit or

                                  14   administrative action” either individually or together with other employees outside of the

                                  15   arbitration procedures set forth therein. (Marr Decl. ¶ 4, Ex. 5). Accordingly, the arbitration

                                  16   agreement is enforceable and the Court finds that adding Webber as a named plaintiff would be

                                  17   futile.

                                  18                    4.      Conclusion

                                  19             For the reasons discussed above, the motion for leave to file a fourth amended complaint is

                                  20   GRANTED IN PART. Leave is granted for the sole purpose of adding plaintiffs Massoudi and

                                  21   Mandili. Leave is DENIED as to Webber.

                                  22             B.     Motion to Exclude Expert Opinion of Dr. Neumark

                                  23             The Court next turns to the motion to exclude the expert opinion of Dr. Neumark, as

                                  24   defendants’ arguments on the summary judgment and class certification motions stem, in part,

                                  25   from this challenge.

                                  26             Plaintiffs offer Dr. Neumark, a professor of labor economics at the University of

                                  27   California, Irvine, to opine that various statistical disparities in the data produced by TCS are

                                  28   “strongly consistent” with discrimination in hiring and terminations on the basis of race and

                                                                                           12
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                                   1   national origin. (Neumark Rpt. ¶ 6.) Dr. Neumark’s findings focus on statistical disparities

                                   2   regarding TCS’ workforce during the class period, namely the proportion of (i) Southeast Asians

                                   3   working at TCS compared to the computer design and related services industry as a whole, and (ii)

                                   4   the proportion of Southeast Asians which TCS involuntarily terminated from the bench compared

                                   5   to non-Southeast Asians. For each of these statistical disparities, Dr. Neumark opines that the

                                   6   results are statistically significant and there exists less than .00000001% probability that the

                                   7   disparity is due to chance. (Id. ¶¶ 6, 8.) Defendant does not challenge Neumark’s qualifications.

                                   8   Rather, defendant contends that Dr. Neumark’s calculations (i) are unhelpful to the trier of fact

                                   9   because he fails to opine that discrimination was the cause of the statistical disparities, and

                                  10   unreliable because he (ii) fails to consider non-discriminatory factors which could explain these

                                  11   statistical disparities, (iii) fails to consider the appropriate labor market by including expats from

                                  12   his calculations, (iv) employs a novel methodology which is inconsistent with his prior published
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                                  13   work, and (v) ignores the fact that TCS’ actual applicant pool is 40% South Asian. The Court

                                  14   addresses each criticism.

                                  15                  1.      Lack of Opinion on Causation

                                  16          Defendant argues that Dr. Neumark’s analysis is unhelpful to the trier of fact because he

                                  17   does not opine that discrimination was the cause of the statistical disparities which he identified.

                                  18   Dr. Neumark’s conclusion is limited to an opinion that the statistical disparities are “strongly

                                  19   consistent” with discrimination. Defendant relies primarily on Coleman, an employment

                                  20   discrimination class action in which the Ninth Circuit found that plaintiffs’ expert’s opinion that

                                  21   there was a “3 in 100 billion” probability that a statistical disparity occurred due to chance, but

                                  22   which did not address causation, insufficient to survive a motion for summary judgment.

                                  23   Coleman, 232 F.3d at 1283.

                                  24          Defendant does not persuade. As an initial matter, defendant ignores the fact that the

                                  25   Coleman Court actually admitted and fully considered plaintiffs’ expert’s statistical evidence. See

                                  26   Coleman, 232 F.3d at 1283-84. There, the Court found plaintiffs’ statistical evidence admissible

                                  27   despite methodological criticisms undermining the weight of such evidence. 232 F.3d at 1285.

                                  28          Further, expert analysis need not purport to prove discrimination to be helpful to the trier
                                                                                         13
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                                   1   of fact. “A statistical study may fall short of proving the plaintiff’s case, but still remain relevant

                                   2   to the issues in dispute.” Obrey v. Johnson, 400 F.3d 691, 695 (9th Cir. 2005). In Obrey, the Ninth

                                   3   Circuit considered the admissibility of an expert analysis “based entirely on statistical disparities.”

                                   4   Id. at 696. There, defendant argued that plaintiff’s expert’s statistical analysis was not relevant

                                   5   because the expert did not purport to identify discrimination. In finding the expert analysis helpful

                                   6   to the trier of fact and therefore admissible, the Court noted that defendant’s objection went to

                                   7   “weight and sufficiency rather than admissibility.” Id. at 695. Here, Dr. Neumark need not opine

                                   8   that the observed statistical disparities were caused by discrimination for his testimony to be

                                   9   relevant and helpful to the trier of fact. As in Obrey and Coleman, Dr. Neumark’s analysis shows

                                  10   statistical disparities between South Asians and non-South Asians in TCS’ workforce composition

                                  11   and involuntary termination outcomes. The Court notes that determining causation is the

                                  12   providence of the jury, not an economic expert.
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                                  13                   2.      Non-discriminatory Factors

                                  14           Defendant’s second basis for excluding Dr. Neumark’s opinion is that he did not take into

                                  15   account non-discriminatory factors which could explain the statistical disparities he observed.

                                  16   Specifically, TCS asserts that Dr. Neumark failed to control for differences between South Asian

                                  17   and non-South Asian employees and applicants with regard to (i) compensation demands; (ii)

                                  18   willingness to relocate; (iii) familiarity with TCS clients; (iv) skills and training; and (v)

                                  19   performance ratings. TCS relies primarily on Bazemore in arguing that Dr. Neumark’s statistical

                                  20   analysis is “so incomplete as to be inadmissible as irrelevant.” Bazemore v. Friday, 478 U.S. 385,

                                  21   401 n.10 (1985).12

                                  22
                                               12
                                  23             TCS also cites Coleman, Sheehan, Rose in arguing that Dr. Neumark’s analysis is so
                                       incomplete as to be inadmissible. Defendant does not persuade. As noted the Coleman Court
                                  24   actually admitted plaintiff’s expert’s testimony despite a failure to control for “obvious variables.”
                                       Coleman, 232 F.3d at 1283.
                                  25           Similarly, in Rose, the Ninth Circuit admitted and considered plaintiff’s expert’s statistical
                                       evidence of age discrimination even though the analysis failed to take into account the fact that
                                  26   “older persons tend to occupy [the type of] key management positions” which were eliminated
                                       pursuant to a workforce consolidation of duplicative job positions following a corporate merger.
                                  27   Rose v. Wells Fargo & Co., 902 F.2d 1417, 1423 (9th Cir. 1990).
                                               Defendant’s reliance on Sheerhan is puzzling. There, the Court excluded expert testimony
                                  28   based on an improper equation of a “simple statistical correlation to a causal relation. Sheehan v.
                                       Daily Racing Form, Inc., 104 F.3d 940, 942 (7th Cir. 1997). Here, as discussed above, defendant
                                                                                         14
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                                   1          As an initial matter, the portion of Bazemore on which TCS relies is dicta which appears in

                                   2   a footnote following the Court’s articulation of the general rule that “[n]ormally, failure to include

                                   3   variables will affect the analysis’ probativeness, not its admissibility.” Id. at 401. As discussed

                                   4   above, “objections to a study’s completeness generally go to ‘the weight, not the admissibility of

                                   5   the statistical evidence.’” Obrey, 400 F.3d at 695 (quoting Mangold v. Cal. Pub. Utils. Comm’n,

                                   6   67 F.3d 1470, 1476 (9th Cir. 1995)).

                                   7          Further, TCS cannot simply identify non-discriminatory variables and assert that

                                   8   controlling for such variables would cure the observed statistical disparities. Rather, defendant

                                   9   must “produce credible evidence that curing the alleged flaws must also cure the statistical

                                  10   disparity.” E.E.O.C. v. Gen. Tel. Co. of NW, Inc., 885 F.2d 575, 583 (9th Cir. 1989). Here, TCS’s

                                  11   own economic expert, Dr. Anderson, conceded that the data which TCS produced in this case was

                                  12   insufficient to control for most of these variables through a reliable multi-variable regression.13
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                                  13   (Dkt. No. 170, Ex. 7, Deposition G. Edward Anderson (“Anderson Dep.”) at 74:21–76:2

                                  14   (testifying that he did not control for certain variables because “I don’t believe that the data I have

                                  15   would allow me to do a reliable analysis like that).) Thus, the Court finds that defendant has

                                  16   failed to demonstrate how controlling for non-discriminatory variables explain the statistical

                                  17   disparities identified by Dr. Neumark.

                                  18                  3.      Relevant Labor Market

                                  19          With regard to TCS’ third challenge to Dr. Neumark’s opinion which is failure to identify

                                  20   the appropriate relevant labor market, defendant focuses its attack on Dr. Neumark’s inclusion in

                                  21   his hiring analysis of South Asians expats hired in India and transferred to the United States

                                  22

                                  23   moves to exclude Dr. Neumark’s opinion specifically because he did not equate statistical
                                       correlation with causation. See Section III.B.1, supra. As TCS repeatedly points out, Dr. Neumark
                                  24   opines that the statistical disparities are “consistent” with a pattern of discrimination and does not
                                       claim a causal relationship.
                                  25          13
                                                 The Court notes that Dr. Anderson did analyze two non-discriminatory variables,
                                  26   namely (i) tenure at TCS and (ii) performance ratings. (Anderson Rpt. ¶¶ 17, 69, Tbl. 14.)
                                       However, as discussed below triable factual issues exist as to whether these variables are
                                  27   themselves a product of discrimination. See Section III.C.2, infra. In any event, Dr. Anderson’s
                                       analysis of these two variables merely suggests a simple correlation between (i) tenure, (ii)
                                  28   performance ratings, and (iii) termination rates. Such analysis does constitute the type of multi-
                                       variable analysis which TCS contends Dr. Neumark should have conducted.
                                                                                         15
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                                   1   pursuant to work visas. Specifically, TCS takes issue with the fact that Dr. Neumark deems an

                                   2   expat’s first project in the United States as his date of hire. TCS’ criticism may have substantial

                                   3   implications for this case given that South Asian expats accounted for greater than 75% of TCS’

                                   4   United States workforce during the class period. (Anderson Decl. ¶ 14.) Whether an expat

                                   5   transferred to the United States constitutes a “hire” for the purposes of an employment

                                   6   discrimination analysis presents an issue of first impression. This Court is unaware of any case

                                   7   which specifically analyzed whether expats transferred to the United States pursuant to work visas

                                   8   are properly deemed “hires” for the purposes of defining a relevant labor market, nor have the

                                   9   parties offered any such cases.

                                  10          According to TCS, expats are already TCS employees when they arrive in the United

                                  11   States and thus should not be deemed “hires” in Dr. Neumark’s analysis.14 Defendant further

                                  12   highlights that it has received authorization from the United States government to bring such
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                                  13   India-based employees to the United States pursuant to work visa. (Dkt. No. 130, Declaration of

                                  14   Amit Jindal ¶ 4.) Plaintiffs argue that expats must apply and interview for positions in the United

                                  15   States which are otherwise filled by local hires. (Kumar Dep. at 27:13-29:1, 43:22-44:5.) Further,

                                  16   plaintiffs point to TCS documents which suggest that defendant views expats and Local Hires as

                                  17   substitutes. (Dkt. No. 195, Exs. 76-79 (listing open available for “LOCAL HIRE/EXPAT.)

                                  18          TCS’ criticism presents a close issue. On the one hand, expats must compete against Local

                                  19   Hires for positions supporting TCS clients in the United States. (Dkt. No. 195, Exs. 76-79.) Like

                                  20
                                              14
                                  21              Defendant also attacks Dr. Neumark’s failure to include expats transferred back to India
                                       before the expiration of the expat’s visa in his termination analysis. The Court finds TCS’
                                  22   criticism valid, but notes that Dr. Neumark adjusted his calculations to address this issue in his
                                       supplemental report. (Neumark Supp. Rpt. ¶ 7, Tbl. 2.) The impact of this adjustment on Dr.
                                  23   Neumark calculations is de minimis and does not impact the statistical significance of his findings.
                                       (Id.)
                                  24           Defendant further argues that the involuntary termination rate for expats is nearly 100%
                                       because almost all expats eventually return to their home county. Defendant does not persuade, as
                                  25   adopting this logic would essentially shield all employers which discriminate in favor of expats
                                       and against United States employees from liability under Title VII for discrimination based on
                                  26   national origin. The fact that expats work in the United States pursuant to visas which contain
                                       specific time limitations means that most expats must necessarily return to their home country on a
                                  27   predetermined date. It does not follow that such expats were involuntary terminated, as the
                                       conclusion of their employment in the United States is not a discretionary employment decision
                                  28   but the result of an employer’s compliance with United States visa and immigration laws.

                                                                                        16
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                                   1   Local Hires, expats must apply, interview, and be selected for jobs in the United States.

                                   2   Accordingly, there exists a reasonable basis to view expats and Local Hires as labor market

                                   3   substitutes. Further, an expat’s first project in the United States represents a new role for the

                                   4   expat. Working onsite with a client in the United States is fundamentally different than supporting

                                   5   a client remotely from India. On the other hand, expats were hired and employed by TCS in India

                                   6   prior to transferring to the United States. Further, plaintiffs do not dispute that expats enter the

                                   7   United States pursuant to work visas specifically authorized by the United States government.

                                   8          To resolve this issue the Court looks to the underlying purposes of United States visa laws.

                                   9   Federal courts have found that the purpose of visa laws is to enable foreign workers to “enter[] the

                                  10   labor market” in the United States, Prod. Tool Corp. v. Emp’t & Training Admin., 688 F.2d 1161,

                                  11   1168 (7th Cir. 1982), while protecting the domestic economy from adverse working standards as

                                  12   workers “enter[] the labor market.” Vemuri v. Napolitano, 845 F. Supp. 2d 125, 131 (D.D.C.
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                                  13   2012). Such cases support the proposition that expats “enter” the United States labor market when

                                  14   expats commence work in the United States pursuant to work visas. Effective on that date, the

                                  15   expat’s work visa begins to run and the expat is considered a United States employee for the

                                  16   purposes of tax and labor laws.

                                  17          Therefore, the Court finds that it was reasonable for Dr. Neumark to deem an expat’s first

                                  18   project in the United States as the expat’s date of hire. See Prod. Tool Corp., 688 F.2d at 1168;

                                  19   Vemuri, 845 F. Supp. 2d at 131. However, the Court takes no position as to whether foreign

                                  20   workers transferred to the United States pursuant to work visa in fact constitute hires for the

                                  21   purposes of an employment discrimination analysis. Rather, the Court’s finding is limited to the

                                  22   reasonability of Dr. Neumark’s assumption, not its ultimate validity. Accordingly, the Court finds

                                  23   that defendants’ criticism of Dr. Neumark’s inclusion of expats in his hiring analysis goes to the

                                  24   weight of Dr. Neumark’s opinion and does not warrant exclusion.

                                  25                  4.      Consistency with Prior Work

                                  26          Defendant’s fourth ground for exclusion of Dr. Neumark’s opinion is that his methodology

                                  27   is novel, untested, and inconsistent with his prior published work. Defendant does not persuade,

                                  28   as Dr. Neumark’s methodology is consistent with the methodology used by experts in employment
                                                                                         17
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                                   1   discrimination cases. See Hazelwood Scho. Dist. v. United States, 433 U.S. 299, 308, n.14 (1977);

                                   2   see also Adams v. Ameritech Servs., Inc., 231 F.3d 414, 424 (7th Cir. 2000). Here, Dr. Neumark

                                   3   (i) defines the relevant labor market, (ii) determines the expected employment results absent

                                   4   discrimination (“Null Hypothesis”), (iii) compares the actual statistical results against the Null

                                   5   Hypothesis, (iv) calculates the standard deviation between the actual statistical results and the Null

                                   6   Hypothesis, and (v) computes the likelihood that these statistical disparities occurred by chance.

                                   7   See id. There exists nothing novel or untested about such a methodology.

                                   8          Citing Dr. Neumark’s prior work published in the National Bureau of Economic Research

                                   9   (the “NBER Publication”), defendant attempts to frame Dr. Neumark’s failure to control for

                                  10   certain non-discriminatory variables as inconsistent with his previous position on employment

                                  11   discrimination regression analyses. However, TCS misinterprets the NBER Publication. There, Dr.

                                  12   Neumark merely cautioned against studies which rely on an “artificial pool of job applicants”
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                                  13   rather than “trying to control for variables that might be associated with productivity.” (Dkt. No.

                                  14   125, Declaration of Patrick Downes (“Downes Decl.”) ¶ 4, Detecting Discrimination in Audit and

                                  15   Correspondence Studies, NATIONAL BUREAU OF ECONOMIC RESEARCH, Working Paper 16448

                                  16   (October 2010) at 3.) The NBER Publication does not stand for the proposition that studies which

                                  17   fail to control for such variables are inherently flawed or unreliable. Rather, the NBER Publication

                                  18   simply encourages researcher to try to control for such variables when sufficient data is available.

                                  19   Here, Dr. Neumark and TCS’ economic expert Dr. Anderson apparently agree that TCS did not

                                  20   produce sufficient data to conduct a reliable multi-variable analysis which controls for many of the

                                  21   variables potentially associated with productivity. (Anderson Dep. 74:21–76:2.)

                                  22          Defendant also points to Dr. Neumark’s deposition testimony to argue that his

                                  23   methodology is unreliable because he was unable to name any studies which employ the

                                  24   methodology he used in this case. Defendant’s argument fails, as TCS misconstrues the deposition

                                  25   testimony. During his deposition, Dr. Neumark did not testify that his methodology was

                                  26   “unorthodox” or “untested.” Rather, Dr. Neumark testified that his use of company-level data is

                                  27   uncommon because researchers rarely have access to such granular data. (Downes Decl. ¶ 2,

                                  28   Deposition of David Neumark, Ph. D. (“Neumark Dep.”) at 110:5-23 (stating that “there aren’t
                                                                                         18
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                                   1   many published papers with company databases . . . Occasionally, a consultant gets hold of data

                                   2   and is able to do this kind of thing”).) The dearth of published material employing the mythology

                                   3   used by Dr. Neumark here thus does not reflect a novel or untested mythology, but rare access to

                                   4   granular company-level data.

                                   5                   5.      TCS’ Actual Applicant Pool

                                   6            Finally, TCS argues that Dr. Neumark’s opinion should be excluded because he failed to

                                   7   consider that 40% of TCS’ actual applicant pool is comprised of South Asian candidates.

                                   8   Defendant’s argument fails in light of the Supreme Court’s holding in Dothard. There, the Court

                                   9   held that a “statistical showing” of discrimination need not be “based on analysis of the

                                  10   characteristics of actual applicants” because the “the application process might itself not

                                  11   adequately reflect the actual potential applicant pool.” Dothard v. Rawlinson, 433 U.S. 321, 330

                                  12   (1977). Further, where “there is an allegation that the employer’s discriminatory practices infect
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                                  13   recruiting . . . applicant flow data cannot be taken at face value.” Castaneda v. Pickard, 648 F.2d

                                  14   989, 1003 (5th Cir. 1981).

                                  15            Here, plaintiffs allege that TCS engages in a pattern and practice of discrimination which

                                  16   extends to its use of third-party recruiters to identify, target, attract, and hire South Asian

                                  17   applicants. (TAC ¶ 1 (“recruiters within Tata’s United States recruiting unit have been explicitly

                                  18   instructed to focus primarily on hiring Indians for positions in the United States”).)15 Therefore,

                                  19   Dr. Neumark’s use of American Community Service (“ACS”) employment data instead of TCS’

                                  20   actual applicant pool was reasonable and TCS’ criticisms go to weight, not admissibility.

                                  21                   6.      Conclusion

                                  22            For the reasons discussed above, TCS’ motion to exclude the expert opinion of Dr.

                                  23   Neumark is DENIED.

                                  24   //

                                  25
                                                15
                                  26            In addition, the Seventh Circuit has recognized that “[a]n applicant pool analysis is
                                       biased against finding discrimination, if potential applicants know or suspect that the employer is
                                  27   discriminating. Mister v. Illinois Cent. Gulf R. Co., 832 F.2d 1427, 1436 (7th Cir. 1987). Here,
                                       TCS applicants may “know or suspect that the employer is discriminating,” Mister, 832 F.2d at
                                  28   1436, and thus any analysis based on the applicant pool will be biased against finding
                                       discrimination.
                                                                                         19
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                                   1          C.      Motion for Summary Judgment

                                   2                  1.      Legal Standard

                                   3          In a disparate treatment case, plaintiffs must show that intentional discrimination was the

                                   4   determinative factor in an adverse employment action. See Hazen Paper Co. v. Biggins, 507 U.S.

                                   5   604, 610 (1993). Class action plaintiffs may bring a claim for disparate treatment by alleging that

                                   6   the employer’s conduct was part of a “pattern or practice” of discriminatory treatment toward

                                   7   members of a protected class. International Broth. of Teamsters v. United States, 431 U.S. 324,

                                   8   325 (1977). “As the Supreme Court reaffirmed in Dukes, pattern-or-practice cases alleging

                                   9   disparate treatment under Title VII typically follow a bifurcated, burden-shifting structure laid out

                                  10   by Int’l Broth. of Teamsters.” Ellis v. Costco, 285 F.R.D. 492 at 505 (N.D. Cal. 2012). Under the

                                  11   Supreme Court’s Teamsters framework, pattern or practice claims are evaluated in two phases,

                                  12   namely the “liability stage” (“Phase One”) and the “remedial stage” (“Phase Two”). Teamsters,
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                                  13   431 U.S. at 360.

                                  14                          a. Phase One: Plaintiffs’ Prime Facie Case

                                  15          During the initial liability stage, plaintiffs bear the burden of establishing a prima facie

                                  16   case that “unlawful discrimination has been a regular procedure or policy followed by an

                                  17   employer.” Id. Plaintiffs must show that intentional discrimination was the defendant’s “standard

                                  18   operating procedure” as opposed to an “unusual practice.” Id. at 336. To carry their burden,

                                  19   plaintiffs must produce evidence giving rise to a sufficient “inference that employment decisions

                                  20   were based on an unlawful discriminatory criterion.” Segar v. Smith, 738 F. 2d 1249, 1267 (D.C.

                                  21   Cir. 1984.) Plaintiffs can establish this inference through circumstantial evidence such as

                                  22   statistical disparities, documents, and testimony from protected class members. Teamsters, 431

                                  23   U.S. at 336; American Federation of State, County & Mun. Employees, AFL-CIO (AFSCME) v.

                                  24   State of Wash. 770 F. 2d 1401, 1407 (9th Cir. 1985).

                                  25          “The burden of establishing a prime facie case is not designed to be ‘onerous.’” Diaz v.

                                  26   American Telephone & Telegraph, 752 F. 2d 1356 (9th Cir. 1985). To establish a prima facie

                                  27   case, “the plaintiff need only provide evidence that suggests that the ‘employment decision was

                                  28   based on a discriminatory criterion.’” Diaz, 752 F.2d at 1361 (quoting Teamsters, 431 U.S. at 358)
                                                                                         20
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                                   1   (emphasis in original). “[G]ross statistical disparities” in the treatment of members of a protected

                                   2   class “alone may in a proper case constitute prima facie proof of a pattern or practice of

                                   3   discrimination.” Hazelwood, 433 U.S. at 308 (citing Teamsters, 431 U.S. at 339); see also Diaz,

                                   4   752 F.2d at 1363 (9th Cir. 1985) (“In some cases, statistical evidence alone may be sufficient to

                                   5   establish a prima facie case.”); O'Brien v. Sky Chefs, Inc., 670 F.2d 864, 866 (9th Cir. 1982)

                                   6   (“Statistical data is one way to establish a prima facie case”); EEOC v. O&G Spring & Wire

                                   7   Forms Specialty Co., 38 F.3d 872, 876 (7th Cir. 1994) (“Statistical evidence can . . . be sufficient

                                   8   to establish a pattern and practice of discrimination”). In the context of summary judgment, the

                                   9   proof necessary to establish a prima facie case of employment discrimination is “minimal.”

                                  10   Coleman, 232 F.3d 1271 (quoting Wallis v. J.R Simplot Co., 26 F.3d 885, 889 (9th Cir. 1994)).

                                  11                            b. Phase One: Defendant’s Rebuttal

                                  12            If plaintiffs carry their initial burden of making a prima facie showing, the burden then
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                                  13   shifts to the defendant to rebut plaintiffs’ prima facie case by demonstrating that plaintiffs’ proof

                                  14   is inaccurate or statistically insignificant, or by proffering a persuasive nondiscriminatory

                                  15   explanation for the statistical discrepancy. See Teamsters, 341 U.S. at 360; Segar v. Smith, 738 F.

                                  16   2d at 1268; United States v. City of New York 717 F. 3d 72, 85-86 (2nd Cir. 2013). In order to

                                  17   rebut “the inference of discrimination raised by the statistical evidence,” a defendant must “do

                                  18   more than simply point out possible flaws in the proponent’s statistical analysis.” General

                                  19   Telephone Co., 885 F.2d at 575; see also Palmer v. Schultz, 815 F.2d 84, 101 (D.C. Cir. 1987)

                                  20   (holding that “defendant cannot rebut statistical evidence . . . without introducing evidence to

                                  21   support the conclusion that the missing factor can explain the disparities as the product of a

                                  22   legitimate, nondiscriminatory selection criterion”). Thus, a defendant must “produce credible

                                  23   evidence that curing the alleged flaws [in plaintiff’s statistical analysis] would also cure the

                                  24   statistical disparity.” Id.

                                  25            If defendant cannot produce such evidence, this “will support a rebuttable inference that all

                                  26   class members were victims of the discriminatory practice.” Ellis, 285 F.R.D. at 505 (quoting

                                  27   Teamsters, 431 U.S. at 361). The analysis then proceeds to Phase Two.

                                  28   //
                                                                                         21
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                                   1                          c. Phase Two: Remedial Stage

                                   2          If an employer “fails to rebut the inference that arises from the [] prima facie case,” the

                                   3   analysis proceeds to the Remedial Phase where plaintiffs are entitled an “inference that any

                                   4   particular employment decision, during the period in which the discriminatory policy was in force,

                                   5   was made in pursuit of that policy.” Teamsters 341 U.S. at 361; Thiessen v. Gen. Elec. Capital

                                   6   Corp., 267 F.3d 1095 at 1106-07, fn.7 (10th Cir. 2001) (indicating that plaintiffs at this stage are

                                   7   “entitled to a presumption that the employer had discriminated against them”). When plaintiffs

                                   8   seek individual relief such as monetary damages, “a district court must usually conduct additional

                                   9   proceedings . . . to determine the scope of individual relief.” Id.

                                  10          During Phase Two, the burden shifts to the defendant “but it will have the right to raise any

                                  11   individual defenses it may have,” and to “demonstrate that the individual applicant was denied an

                                  12   employment opportunity for lawful reasons.” Teamsters at 362 (citing Franks, 424 U.S. at 747,
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                                  13   772 (1976) (employer has the burden “to prove that individuals . . . were not in fact victims of

                                  14   previous hiring [or termination] discrimination”). A defendant must offer “clear and convincing

                                  15   evidence” that adverse employment action would have occurred “even absent the proven

                                  16   discrimination.” Muntin v. State of Ca. Parks Dept., 738 F.2d 1054, 1056 (9th Cir. 1984);

                                  17   E.E.O.C. v. Joe’s Stone Crab, Inc., 220 F.3d 1263, 1287 n.22 (11th Cir. 2000); see also Segar, 738

                                  18   F.2d at 1269-70.

                                  19                  2.      Discussion

                                  20                          a. Phase One: Plaintiffs’ Prime Facie Case

                                  21          Plaintiffs rely primarily on three types of evidence to establish their prima facie, namely (i)

                                  22   statistical disparities between South Asian and non-South Asian employees with regard to both

                                  23   workforce composition and involuntary terminations from the bench; and TCS documents which
                                       suggest that defendant (ii) prefers expats which are predominantly South Asian over Local Hires
                                  24
                                       when mapping benched employees to onsite client opportunities and (iii) instructs third-party
                                  25
                                       vendors to identify, target, and recruit South Asian in local hiring.
                                  26
                                              With regard to the first category which is plaintiffs’ statistical evidence, Dr. Neumark
                                  27
                                       opined that TCS involuntarily terminated 10.6% of its non-South Asian workers compared to less
                                  28
                                                                                         22
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                                   1   than 1% of South Asian workers during the class period. (Neumark Supp. Rpt., Tbl. 2) According

                                   2   to Dr. Neumark, these results are statistically significant and the likelihood of obtaining such

                                   3   skewed results by chance is less than 1 in 1 billion. (Id.) Dr. Neumark also opined that TCS’

                                   4   workforce was between 72.32% and 78.91% South Asian during the class period, compared to

                                   5   12.50% of the computer systems design and related services industry as a whole. (Neumark Rpt.

                                   6   ¶¶ 6, 14; Tbl. 1).) 16 These results are also statistically significant, and the likelihood of obtaining

                                   7   these results by chance is less than 1-in-1-billion. Such “gross statistical disparities” in the

                                   8   treatment of non-South Asian employees “alone may in a proper case constitute prima facie proof

                                   9   of a pattern or practice of discrimination.” Hazelwood, 433 U.S. at 308 (citing Teamsters, 431

                                  10   U.S. at 339).17 However, plaintiffs here do not rely merely on statistical evidence alone but offer

                                  11   additional documentary evidence of discrimination.

                                  12          The second category of evidence is TCS documents which suggest a pattern and practice of
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                                  13   favoring benched South Asian expats over Local Hires in allocating employees to onsite client

                                  14   projects. Such work allocations are significant given TCS’ business and termination model

                                  15   discussed above. As noted benched TCS employees receive their regular paychecks but are

                                  16   generally terminated if they remain unallocated for an extended period of time. (Kumar Dep. at

                                  17   15:3-15; Dkt. No. 115, Ex. 7 (TCS055851-5854 at 5853).)

                                  18          Plaintiffs offer internal TCS documents which describe a TCS “[l]eadership directive [] to

                                  19
                                              16
                                  20             At this juncture the Court takes no position as to whether foreign workers transferred to
                                       the United States pursuant to work visas are properly deemed “hires.” See Section III.B.3, supra.
                                  21   As noted Dr. Neumark’s inclusion of expats in his hiring analysis was reasonable, and any
                                       criticisms of such inclusion go to the weight of his opinion. However, in an abundance of caution,
                                  22   the Court affords minimal weight to plaintiffs’ statistical evidence of hiring disparities.
                                              17
                                  23              Defendant argues in passing that plaintiffs fail to make out a prima facie case because
                                       plaintiffs rely “almost exclusively” on statistical evidence and “[l]iability may not be based solely
                                  24   on racial imbalance among employees.” Lewis v. Tobacco Workers’ International Union, 577 F.2d
                                       1135, 1141 (4th Cir. 1978). However, defendant misconstrue plaintiffs’ initial burden to establish
                                  25   a prima facie case. At the prima facie stage plaintiffs need not establish TCS’ ultimate liability,
                                       but must merely proffer evidence which “suggests” that TCS’ employment decisions were the
                                  26   “based on a discriminatory criterion.” Diaz, 752 F.2d at 1361 (quoting Teamsters, 431 U.S. at 358)
                                       (emphasis in original). As noted the Ninth Circuit has found that “gross statistical disparities . . .
                                  27   alone” may be sufficient. Hazelwood, 433 U.S. at 308 (citing Teamsters, 431 U.S. at 339); Diaz,
                                       752 F.2d at 1363. Finally, and in any event, defendant’s assertion that plaintiffs rely almost
                                  28   exclusively on statistical evidence does not persuade in light of the copious documentary evidence
                                       which plaintiffs offer in additional to the statistical evidence.
                                                                                           23
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                                   1   utilize every visa to the maximum extent.” (Dkt. No. 115, Ex. 2 (TCS057813-18 at 15).) These

                                   2   documents further reflect instructions that the “RMG should try and map associated with

                                   3   unutilized visas and work permits for onsite opportunities.” (Dkt. No. 115, Ex. 8 (TCS007391-

                                   4   7452 at 7425).) Other such documents describe instructions for the RMG to review a list of

                                   5   unallocated expats and map “each associate to two accounts and mark[] the priority 1 & 2”

                                   6   because “[p]rioritized accounts will quickly evaluate and absorb associates into immediate billable

                                   7   roles.” (Id., Ex. 27 (TCS069046-9047).) Further, plaintiffs offer evidence that this corporate

                                   8   directive was implemented across a range of business managers. (Id., Ex. 90

                                   9   (TCSLTD004016550-53 at 50) (“As per Corporate directive we have to utilize the visa ready

                                  10   associates at onsite”); Ex. 91(TCSLTD004040304-06 at 304) (referencing “direction from our

                                  11   leadership team on leveraging visa ready expat associates”); Ex. 93 (TCSLTD003236913) (“As

                                  12   per recent Management decision, we have been advised to . . . re deploy [expats] at onsite if they
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                                  13   are getting released.”).)

                                  14          Third, plaintiffs offer TCS documents which describe apparent instructions to identify,

                                  15   target, and attract South Asian Local Hires (also referred to as “Desi” applicants). For example,

                                  16   one such document reflects a request from TCS’ “Offshore Lead” to a Senior Talent Acquisition

                                  17   Manager to “get a Local Hire preferably Indian . . . . We need only Indians for this requirement.”

                                  18   (Dkt. No. 197, Ex. 60 (TCSLTD005353314-17 at 14-16).) In response, the Talent Acquisition

                                  19   Manager notes that “finding a Desi should not be an issue and [I] will only look for this but

                                  20   obviously we cannot release this sort of info to the outside world [smiley face].” (Id.) Similar

                                  21   documents indicate that TCS’ “[h]iring trends in FY12 indicate Hiring Managers within ISUs have

                                  22   higher affinity towards selecting local hire candidates who are of Indian-origin.” (Id., Ex. 55

                                  23   (TCSLTD003481371-77 at 76); see also Ex. 62 (TCSLTD005349892-93 at 92) (informing

                                  24   recruiter “I need more candidates for this but they[]must be Desi”); Ex. 63 (TCSLTD005204587-

                                  25   91 at 87, 88) (Project Manager: “I don’t know how to ask this subtly . . . do u think we can get

                                  26   someone ‘desi’ for this[?] Senior Talent Acquisition Specialist: “No problem I’ll let [the recruiter]

                                  27   know[.]”).)

                                  28
                                                                                        24
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                                   1             The Court finds that plaintiffs’ statistical and documentary evidence easily satisfies their

                                   2   burden to make a prima facie showing. In the context of summary judgment the proof necessary

                                   3   to establish a prima facie case of employment discrimination is “minimal.” Coleman, 232 F.3d

                                   4   1271 (quoting Wallis, 26 F.3d at 889); see also Diaz, 752 F. 2d at 1356 (burden is not designed to
                                       be “onerous”). Plaintiffs’ showing is sufficient, as they have provided ample “evidence that
                                   5
                                       suggests that [TCS’] ‘employment decision[s] [were] based on a discriminatory criterion.” Diaz,
                                   6
                                       752 F.2d at 1361 (quoting Teamsters, 431 U.S. at 358) (emphasis in original).
                                   7
                                                                b. Phase One: Defendant’s Rebuttal
                                   8
                                                 Having found plaintiffs’ prima facie showing sufficient, the burden now shifts to defendant
                                   9
                                       to rebut plaintiffs’ prima facie case by demonstrating that plaintiffs’ proof is inaccurate or
                                  10
                                       statistically insignificant, or by proffering a persuasive nondiscriminatory explanation for the
                                  11
                                       statistical discrepancy. See Teamsters, 341 U.S. at 360; Segar v. Smith, 738 F. 2d at 1268. TCS
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                                       challenges plaintiffs’ prima facie case on five grounds: First, TCS argues that plaintiffs’ statistical
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                                  13
                                       evidence is undermined by Dr. Neumark’s failure to eliminate non-discriminatory factors.
                                  14   Second, plaintiffs’ inclusion of expats in plaintiffs’ hiring analysis is improper. Third, the
                                  15   statistical evidence fails to focus on the geographic regions where applicants and employees
                                  16   actually seek to work. Fourth, plaintiffs fail to consider the fact that TCS’ applicant pool is 40%
                                  17   South Asian. Fifth, the percentage of South Asians employed at TCS decreased during the class
                                  18   period.
                                  19             With regard to Dr. Neumark’s failure to control for non-discriminatory variables,

                                  20   defendant largely rehashes the same arguments raised in TCS’ motion to exclude the expert

                                  21   opinion of Dr. Neumark. See Section III.B, supra. However, in order to rebut “the inference of

                                  22   discrimination raised by the statistical evidence [TCS must] . . . . do more than simply point out

                                  23   possible flaws in [plaintiffs’] statistical analysis.” General Telephone Co., 885 F.2d at 575 (1989);

                                  24   Palmer, 815 F.2d at 101. Here, TCS fails to “produce credible evidence that curing the alleged

                                  25   flaws [in plaintiff’s statistical analysis] would also cure the statistical disparity.” Id. at 583.

                                  26   Defendant makes no showing that controlling for allegedly non-discriminatory variables

                                  27   eliminates the statistical significance of Dr. Neumark’s statistical findings. TCS merely identifies
                                  28   certain variables which could explain the statistical disparities, but fails to establish that these
                                                                                           25
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                                   1   variables “explain the disparities as the product of a legitimate, nondiscriminatory selection

                                   2   criterion.” Palmer, 815 F.2d at 101. For example, TCS offers no evidence that compensation

                                   3   demands actually differ between South Asian and non-South Asians, or that South Asian

                                   4   applicants and employees have superior technical skills, are more willing to relocate, or provide

                                   5   higher quality work.

                                   6          Defendant’s reliance on Coleman is misplaced. There, plaintiffs made out a prima facie

                                   7   case of age discrimination primarily through statistical evidence. Defendant rebutted the prima

                                   8   facie case by showing that plaintiffs’ statistical evidence was not statistically significant after

                                   9   controlling for age, skill level, and education. By contrast, defendant here has not shown that Dr.

                                  10   Neumark’s evidence lacks statistical significance after controlling for non-discriminatory variables

                                  11   because TCS did not conduct its own analysis controlling for such variables. As noted TCS’ own

                                  12   economic expert testified that a reliable multi-variable regression analysis could not be performed
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                                  13   with the data which TCS provided. (Anderson Dep. at 74:21-76:2.)

                                  14          However, the Court notes that Dr. Anderson was able to use the data which TCS provided

                                  15   to conduct a limited statistical analysis of two allegedly non-discriminatory variables, namely

                                  16   tenure and performance ratings. With regard to tenure, TCS contends that plaintiffs’ statistical

                                  17   evidence is undermined by the fact that expats have on average nearly three years of experience

                                  18   with TCS prior to arriving in the United States. Dr. Anderson opines that employees with longer

                                  19   tenure are involuntarily terminated at lower rates. (Anderson Rpt. ¶ 17, 69; Tbl. 14.) Defendant

                                  20   does not persuade, as Dr. Anderson’s calculations reveal no difference in involuntary termination

                                  21   rates between employees with less than one year of tenure at TCS and those with 2-3 years of

                                  22   experience which is the average tenure of expats when they arrive in the United States. (Id.) Dr.

                                  23   Anderson further asserts that plaintiffs’ statistical evidence is insignificant because expats receive

                                  24   higher performance rankings and employees with higher performance rankings are involuntarily

                                  25   terminated at lower rates. (Anderson Rpt. ¶ 17, 69; Tbl. 14.) The Court declines to afford this

                                  26   opinion significant weight because the record suggests that TCS’ performance rankings may

                                  27   themselves reflect discrimination. For example, an internal TCS presentation specifically

                                  28   identifies “inherent bias among managers while ranking Local hires . . . . Local hires ranking is
                                                                                          26
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                                   1   skewed consistently towards lower ranks . . . . Over 20% of local hires ranked as D or E, as

                                   2   opposed to 5% amongst expats.” (Dkt. No. 197, Ex. 55 (TCSLTD003481371-77 at 73).)

                                   3   Therefore, TCS’ first criticism fails.

                                   4           TCS’ second attack on plaintiffs’ prima facie showing recycles same arguments raised in

                                   5   defendant’s motion to exclude Dr. Neumark based on the inclusion of expats in his hiring

                                   6   analysis.18 As discussed above, whether expats are properly included in plaintiffs’ hiring analysis

                                   7   is a close call and at minimum a triable issue. In light of plaintiffs’ statistical evidence of

                                   8   discrepancies in involuntary terminations from the bench between South Asian and non-South

                                   9   Asian employees, and the unrebutted documentary evidence of discrimination, the Court finds that

                                  10   plaintiffs need not rely on Dr. Neumark’s hiring analysis to make a prima facie showing.

                                  11          Third, TCS argues that Dr. Neumark fails to focus on the geographic regions where

                                  12   applicants and employees actually seek to work. Defendant points out that plaintiffs offer no
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                                  13   evidence on the demographics of qualified applicants in the applicants’ respective local labor

                                  14   pools. TCS offers evidence that 43% of software and IT workers in Los Angeles and 70% of

                                  15   applicants for software engineering positions at a Palo Alto employer were Asian. (See RJN, Ex.

                                  16   2.) With regard to the anecdotal and unverified statistics describing the racial composition of

                                  17   software and IT workers in Los Angeles and Palo Alto, the Court finds that such figures fail to

                                  18   address (i) the percentage of such workers who are South Asian; (ii) whether these figure may

                                  19   themselves reflect discrimination; or (iii) the proportion of TCS employees in Los Angeles and

                                  20   Palo Alto.

                                  21          Defendant further argues that plaintiffs’ nationwide labor market runs afoul of Hazelwood,

                                  22   Gay, and Piva. The Court disagrees. Here, plaintiffs are proceeding under a nationwide theory of

                                  23

                                  24          18
                                                 In its motion for summary judgment, TCS raises an additional argument that the General
                                  25   Agreement on Trade in Services (“GATS”) specifically authorizes TCS’ visa practices. This
                                       argument fails in light of the fact that GATS does not apply to the “movement of all categories of
                                  26   natural persons supplying services under the Agreement.” (See GATS: General Agreement on
                                       Trade in Services, Apr. 15, 1994, Marrakesh Agreement Establishing the World Trade
                                  27   Organization, Annex on Movement of Natural Persons ¶¶ 1-4.)
                                  28
                                                                                          27
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                                   1   discrimination. Hazelwood and Gay, by contrast, involved allegations of discrimination in local

                                   2   labor markets. See Hazelwood, 433 U.S. at 308 (St. Louis county); Gay v. Waiters’ and Dairy

                                   3   Lunchmen’s Union, 549 F.2d 1330, 1331 (9th Cir. 1977) (San Francisco). Given the geographic

                                   4   mobility necessarily involved in the onsite consulting services which TCS offers and the

                                   5   geographic dispersion of TCS’ workforce across virtually the entire United States, the Court finds

                                   6   that a national labor market and nationwide theory of harm are appropriate.

                                   7          In addition, Piva is distinguishable. There, plaintiff attempted to establish a prima facie

                                   8   based on statistical disparities between defendant’s workforce and the general population. Piva v.

                                   9   Xerox Corp., 654 F.2d 591, 596 (9th Cir. 1981.) The Ninth Circuit rejected this approach,

                                  10   reasoning that when “special qualifications are required to fill particular jobs, comparisons to the

                                  11   general population . . . may have little probative value.” Id. at 596 (quoting Hazelwood, 433 U.S.

                                  12   at 308 n.13). By contrast, plaintiffs here do not compare TCS’ workforce to the general
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                                  13   population. Instead, Dr. Neumark benchmarks TCS’ workforce demographics against the

                                  14   computer systems design and related services industry which is a reasonable proxy for a labor pool

                                  15   of individuals with the “special qualifications” required of TCS applicants and employees. Id.

                                  16          TCS’ fourth attack on plaintiffs’ prima facie case is that plaintiffs fail to consider the fact

                                  17   that TCS’ applicant pool is 40% South Asian. Once again, defendant reiterates the same

                                  18   arguments proffered in its attempt to exclude Dr. Neumark’s expert opinion. See Section III.B,

                                  19   supra. As discussed above, Dr. Neumark’s decision to benchmark TCS’ actual employment

                                  20   results against the computer systems design and related services industry is reasonable given the

                                  21   allegations and evidence in the record that TCS’ applicant pool may itself be the product of

                                  22   discrimination. See id.

                                  23          Finally, TCS argues that the percentage of South Asians employed at TCS decreased

                                  24   during the class period. (See Dkt. 128, Declaration of Dr. Edward P. Lazear (“Lazear Decl.”) ¶

                                  25   52, Figure 1.) However, TCS’ calculations include only Local Hires and are thus limited to a

                                  26   sample size which represents between 10% and 25% of TCS’ United States workforce. (See id.;

                                  27   Answer ¶ 13; Dkt. No. 96-1 at 2 (active employee list).) Further, TCS offers no evidence as to

                                  28   whether the statistical discrepancy between the percentage of South Asians and non-South
                                                                                         28
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                                   1   involuntarily terminated from the bench decreased during the class period. The Court thus finds

                                   2   the evidence of declining South Asian workforce composition insufficient in itself to rebut

                                   3   plaintiffs’ prima facie case.19

                                   4          For the reasons discussed above, the Court finds that TCS has failed to rebut plaintiffs’

                                   5   prima facie case.

                                   6                          c. Phase Two: Remedial Stage

                                   7          Defendant argues that it is entitled to summary judgment as to (i) Buchanan because

                                   8   Buchanan cannot identify an available position for which he was qualified and to which he

                                   9   applied, and (ii) Slaight because Slaight was terminated for poor performance. The Court finds

                                  10   that a ruling on the individual claims of Buchanan and Slaight is premature.

                                  11          “[C]ourts have routinely adopted the approach advocated by plaintiffs in which the first

                                  12   phase of the proceedings focuses exclusively on classwide claims, while individual compensatory
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                                  13   damages would be resolved in the second phase.” Rollins v. Traylor Bros., 2016 U.S. Dist. LEXIS

                                  14   7294, *56 (W.D. Wash. 2016) (quoting Ellis, 285 F.R.D. at 543-44.) Such “bifurcation promotes

                                  15   judicial economy and reduces juror confusion. If Plaintiffs do not prevail in Stage One, there will

                                  16   be no need to conduct Stage Two Damage hearings.” Id. (citing Bates v. UPS, 204 F.R.D. 440,

                                  17   449) (N.D. Cal. 2001).

                                  18          “During the first stage of a pattern-or-practice case . . . a summary judgment motion

                                  19   (whether filed by plaintiffs or defendants) must focus solely on whether there is sufficient

                                  20   evidence demonstrating that defendants had in place a pattern or practice of discrimination during

                                  21   the limitations period.” Thiessen, 267 F.3d at 1109 (citing Teamsters, 431 U.S. at 357-61). “In this

                                  22

                                  23          19
                                                  TCS also argues that plaintiffs’ claims fail because TCS is committed to a formal policy
                                       of diversity and inclusion. Defendant offers a TCS “Employee Handbook” which describes a
                                  24
                                       policy prohibiting discrimination on the basis of race and national origin. (Sharma Decl. ¶ 5, Exs.
                                  25   3, 4.) Further, all TCS new hires must participate in Title VII compliance training program and
                                       managers receive additional training from outside labor counsel. (Id. ¶ 6.) TCS avers that its
                                  26   policies prohibiting discrimination are strictly enforced and employees that fail to adhere to such
                                       policies are disciplined. (Kumar Decl., Ex. 1.) Defendant does not persuade in light of TCS’
                                  27   failure to cite any authority for the proposition that an employer is immune from Title VII liability
                                  28   by virtue of having in place a formal diversity policy.

                                                                                        29
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                                   1   case, plaintiffs’ motion for class certification of their claims is pending before this court. An

                                   2   individual assessment of each plaintiff’s intentional national origin discrimination claim under

                                   3   McDonnell Douglas is premature.” Colindres v. Quietflex Mfg., 2004 WL 3690215, at *6 (S.D.

                                   4   Tex. 2004).

                                   5                          d. Conclusion

                                   6          For the reasons discussed above, defendant’s motion for summary judgment as to Phase

                                   7   One liability is DENIED. TCS’ motion for summary judgment as to Phase Two is DENIED as

                                   8   premature to the extent class certification is granted as to Phase One.

                                   9          D.      Motion for Class Certification

                                  10          Plaintiffs seek to represent two damages classes pursuant to Rule 23(b)(3).20 Specifically,

                                  11   plaintiffs define the classes as follows:

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                                          (1) Hiring Class: All individuals who are not of South Asian race or Indian national origin
                                  13          who sought a position with Tata in the United States and were not hired between April 14,
                                  14          2011 and the date of class certification.

                                  15      (2) Termination Class: All individuals who are not of South Asian race or Indian national
                                              origin who were employed by Tata in the United States, were placed in an unallocated
                                  16          status and were terminated between April 14, 2011 and the date of class certification.
                                  17
                                       In the alternative, plaintiffs seek to certify a class pursuant to Rule 23(c)(4) for the purpose of
                                  18
                                       resolving three particular issues, namely, (i) whether TCS engages in a pattern and practice of
                                  19
                                       discrimination and the availability of (ii) punitive damages and (iii) injunctive relief. Plaintiffs
                                  20
                                       further move for an order appointing plaintiffs as representatives of the classes defined above, and
                                  21
                                       appointing plaintiffs’ counsel as counsel for the class. 21
                                  22

                                  23
                                              20
                                                 Excluded from the proposed classes are the defendants, any entity in which defendants
                                  24   have a controlling interest or that has a controlling interest in defendants, and defendants’ legal
                                  25   representatives, assignees, and successors. Also excluded are the judge to whom this case is
                                       assigned and any member of the judge’s immediate family.
                                  26
                                              21
                                                  At the hearing held on October 3, 2017, defense counsel raised for the first time an
                                  27   argument that plaintiffs lack standing because the named plaintiffs are former employees and
                                       plaintiffs are only seeking certification of Phase One issues where the available remedy is “an
                                  28
                                       award of prospective relief,” such as “an injunctive order against the continuation of the
                                                                                          30
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                                   1           Plaintiffs contend that they have established all requirements for certification of a damages

                                   2   class under Rule 23(b)(3). TCS challenges all elements.

                                   3           In light of the issues presented, the Court will first address commonality under Rule 23(a)

                                   4   together with predominance under Rule 23(b)(3). See, e.g., Collins v. ITT Educ. Servs., Inc., No.

                                   5   12-CV-1395, 2013 WL 6925827, at *3 (S.D. Cal. 2013) (addressing commonality and

                                   6   predominance together) (citing Amchem Prods., 521 U.S. at 609 (“Rule 23(a)(2)’s ‘commonality’

                                   7   requirement is subsumed under, or superseded by, the more stringent Rule 23(b)(3) requirement

                                   8   that questions common to the class ‘predominate over’ other questions.”)); Steven Ades & Hart

                                   9   Woolery v. Omni Hotels Mgmt. Corp., No. 13-CV-2468, 2014 WL 4627271, at *8 (C.D. Cal.

                                  10   2014). The Court will then address numerosity under Rule 23(b)(3) together with ascertainability.

                                  11   Next, the Court will turn to the remaining factors under Rules 23(a) and 23(b)(3) ––typicality,

                                  12   adequacy, and superiority.
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                                  13                   1.      Predominance and Commonality

                                  14                                   a. Legal Standard

                                  15           Rule 23(a)(2) requires that the party seeking certification show that “there are questions of

                                  16   law or fact common to the class.” Fed. R. Civ. P. 23(a)(2). To satisfy this requirement, a common

                                  17   question “must be of such a nature that it is capable of classwide resolution—which means that the

                                  18   determination of its truth or falsity will resolve an issue that is central to the validity of each one of

                                  19   the claims in one stroke.” Dukes, 564 U.S. at 350. The existence of common questions itself will

                                  20   not satisfy the commonality requirement, and instead, “[w]hat matters to class certification . . .

                                  21   is . . . the capacity of a classwide proceeding to generate common answers apt to drive the

                                  22   resolution of the litigation.” Id. at 350 (citation omitted) (emphasis in original). The

                                  23   predominance inquiry under Rule 23(b)(3) is “far more demanding.” See Amchem Prods., 521

                                  24

                                  25
                                       discriminatory practice.” Teamsters, 431 U.S. at 361. However, defendant ignores the fact that
                                  26   Phase One issues also include a determination on the availability of punitive damages which
                                       provides an independent basis for plaintiffs’ standing in this case. Rollins, 2016 U.S. Dist. LEXIS
                                  27   7294, *54; Ellis, 285 F.R.D. at 542-43 (stating that “the availability of punitive damages should be
                                  28   adjudicated in Stage One of the trial”); E.E.O.C. v. Outback Steak House of Florida, Inc., 576
                                       F.Supp.2d 1202, 1205–07 (D. Colo. 2008).
                                                                                         31
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                                   1   U.S. at 623–24.

                                   2           The Supreme Court explained in Dukes that “[c]ommonality requires the plaintiff to

                                   3   demonstrate that the class members have suffered the same injury. This does not mean merely that

                                   4   they have all suffered a violation of the same provision of law.” Dukes, 564 U.S. at 349-50.

                                   5   (internal citations and quotation marks omitted). Rather, plaintiffs’ “claims must depend upon a

                                   6   common contention . . . of such a nature that it is capable of classwide resolution—which means

                                   7   that determination of its truth or falsity will resolve an issue that is central to the validity of each

                                   8   one of the claims in one stroke.” Id.

                                   9           In the context of a putative employment discrimination class action under Title VII,

                                  10   plaintiffs seeking to sue about a large number of “employment decisions at once” must establish

                                  11   “some glue holding the alleged reasons for all those decisions together.” Id. at 352. Otherwise, it

                                  12   will be “impossible to say that examination of all the class members’ claims for relief will produce
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                                  13   a common answer to the crucial question why was I disfavored.” Id. The Dukes Court described

                                  14   the “glue” that gives rise to sufficient commonality as “significant proof” that an employer

                                  15   “operated under a general policy of discrimination.” Id. at 355 (quoting Falcon, 457 U.S. at 159

                                  16   n.15 (1982)).

                                  17                                   b. Discussion

                                  18           With regard to the two proposed classes, plaintiffs’ claims hinge on several common

                                  19   questions, namely (i) whether TCS engaged in a pattern and practice of discrimination against

                                  20   non-South Asians, whether (ii) plaintiffs and the proposed classes are entitled to injunctive relief

                                  21   and (iii) the availability of punitive damages. Each question is capable of proof with evidence

                                  22   common to the class.22 As discussed above, during Phase One plaintiffs will attempt to show that

                                  23   TCS engages in a pattern and practice of discrimination using common statistical and

                                  24   documentary evidence. During this stage TCS may present common defenses by attacking

                                  25   plaintiffs’ statistics, presenting its own statistical analysis, and offering documentary evidence

                                  26
                                               22
                                  27             Several courts have held that “‘pattern and practice question[s] predominate[] because
                                       [they] ha[ve] a direct impact on every class member’s effort to establish liability and on every
                                  28   class member’s entitlement to . . . monetary relief.’” Ellis, 285 F.R.D. at 538 (quoting Ingram v.
                                       Coca-Cola Co., 200 F.R.D. 685, 699 (N.D. Ga. 2001)).
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                                   1   which rebuts plaintiffs’ evidence of pattern and practice discrimination. The existence of these

                                   2   three common issues is undisputed. The question before this Court is whether plaintiffs have

                                   3   proffered “significant proof” that TCS “operated under a general policy of discrimination” which

                                   4   constitutes sufficient “glue holding the alleged reasons for [TCS’ challenged employment]

                                   5   decisions together” with regard to each proposed class. Dukes, 564 U.S. at 352 (citing

                                   6   Falcon, 457 U.S. at 159 n.15). Because plaintiffs present distinct evidence with regard to the two

                                   7   proposed classes, the Court addresses each class separately.

                                   8                                          i. Termination Class

                                   9            With regard to the proposed Termination Class, the Court finds that based on the standard

                                  10   articulated in Dukes, plaintiffs offer sufficient proof that TCS “operated under a general policy of

                                  11   discrimination.” Dukes, 564 U.S. at 352. As discussed above, plaintiffs’ proof comes in two

                                  12   general categories, namely (i) statistically significant disparities in involuntary rates between
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                                  13   benched South Asian and non-South Asian employees, and (ii) TCS documents which describe a

                                  14   general corporate policy of favoring expats and visa-ready individuals who are predominantly

                                  15   South Asian in allocating benched employees to open client projects. Such evidence was

                                  16   discussed previously in the context of defendant’s motion of summary judgment. See Section

                                  17   C.2.A, supra. Rather than repeat itself here, the Court instead highlights three aspects of the

                                  18   evidence offered by plaintiffs in support of the proposed Termination Class: First, Dr. Neumark’s

                                  19   statistical findings regarding disparities in involuntary termination rates are unaffected by the

                                  20   criticism which undermines the weight of his hiring analysis (i.e. deeming an expat who

                                  21   previously worked for TCS in India as a new hire on the date of the expat’s first project in the

                                  22   United States). Second, plaintiffs offer TCS internal documents which suggest that defendant’s

                                  23   policy of prioritizing benched expats in staffing Projects represents a “general policy of

                                  24   discrimination.” Dukes, 564 U.S. at 352. For example, TCS business manager describe the policy

                                  25   as a “[l]eadership directive,” “[c]orporate directive,” and “[m]anagement decision.” (See Dkt. No.

                                  26   115, Exs. 2, 91, 93.) Third, plaintiffs proffer substantial evidence regarding implementation of

                                  27   said policy. (Id.)

                                  28   //
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                                   1                                           ii. Hiring Class

                                   2           By contrast, plaintiffs fail to offer sufficient proof that TCS “operated under a general

                                   3   policy of discrimination” with regard to the proposed Hiring Class. Dukes, 564 U.S. at 352. First,

                                   4   the potential size of the proposed Hiring Class dwarfs that of the Termination Class. According to

                                   5   plaintiffs, third-party vendors alone submitted 126,000 candidate resumes to TCS during the class

                                   6   period. Because third-party vendors account for approximately half of TCS applications, the size

                                   7   of the proposed class could easily exceed 250,000. “The Supreme Court suggested (when not

                                   8   explicitly stating) that the sheer size of the [Dukes] class . . . was key to the commonality

                                   9   decision. This makes a great deal of sense when the purpose of the commonality inquiry is to

                                  10   identify ‘some glue holding the alleged reasons for all of [the challenged] employment decisions

                                  11   together.’” Chen–Oster v. Goldman, Sachs & Co., 877 F.Supp.2d 113, 119 (S.D.N.Y. 2012)

                                  12   (quoting Dukes, 564 U.S. at 350); see also Ross v. RBS Citizens, N.A., 667 F.3d 900, 909 (7th Cir.
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                                  13   2012). Similarly, the “sheer size” of the proposed Hiring Class here requires substantial “glue

                                  14   holding the alleged reasons for all of [the challenged] employment decisions together.” The Court

                                  15   finds that plaintiffs fail to proffer such glue.

                                  16           Second, as noted plaintiffs’ hiring analysis is vulnerable to criticism regarding Dr.

                                  17   Neumark’s inclusion of expats and the Court thus affords this portion of plaintiffs’ statistical

                                  18   analysis minimal weight. With regard to the documentary evidence offered in support of the

                                  19   proposed Hiring Class, such evidence is anecdotal and fails to establish a “general policy of

                                  20   discrimination” even if persuasive as to individual incidents. Dukes, 564 U.S. at 352.

                                  21           Third, unlike the evidence of a general policy of discrimination in client project

                                  22   allocations, plaintiffs offer no evidence of a “[l]eadership directive,” “[c]orporate directive,” or

                                  23   “[m]anagement decision” with regard to hiring. (See Dkt. No. 115, Exs. 2, 91, 93.) Fourth,

                                  24   plaintiffs fail to address the fact that TCS’ clients are apparently involved in the hiring process for

                                  25   positions that require technical skills which presents individual inquires. (Chinnari Decl. ¶ 10.)

                                  26           Finally, plaintiffs’ evidence is limited to potential discrimination by third-party recruiters

                                  27   which represent approximately 56% of TCS hires during the class period. (Anderson Decl. ¶ 35,

                                  28   Tbl. 3.) Plaintiffs make no showing of discrimination as to TCS’ other primary hiring channels,
                                                                                          34
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                                   1   namely employee referrals, social networking, job boards, and campus recruitment. (See id.) The

                                   2   data shows significant variation in the percentage of South Asian hires across these five channels,

                                   3   ranging from 43.7% for employee referrals to 27.7% for social networking. Based on the

                                   4   foregoing, the motion to certify the proposed Hiring Class is DENIED. Accordingly, the remaining

                                   5   analysis in this section applies only to the Termination Class.

                                   6                  2.      Numerosity

                                   7          Rule 23(a) requires that each proposed class be “so numerous that joinder of all members

                                   8   is impracticable.” Fed. R. Civ. P. 23(a)(1). Plaintiffs need not state an exact number to meet the

                                   9   threshold requirements of Rule 23. Rather, the rule “requires examination of the specific facts of

                                  10   each case and imposes no absolute limitations.” Gen. Tel. Co. of the Nw. Inc. v. Equal

                                  11   Employment Opportunity Comm’n, 446 U.S. 318, 330 (1980); see also Gold v. Midland Credit

                                  12   Mgmt., Inc., 306 F.R.D. 623, 630 (N.D. Cal. 2014); see, e.g., Patrick v. Marshall, 460 F. Supp. 23,
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                                  13   29 (N.D. Cal. 1978) (certifying class with at least thirty-nine potential members). A class or

                                  14   subclass with more than 40 members “raises a presumption of impracticability [of joinder] based

                                  15   on numbers alone.” Hernandez v. Cnty. of Monterey, 305 F.R.D. 132, 152–53 (N.D. Cal. 2015).

                                  16          The Court finds that plaintiffs’ showing of numerosity is sufficient as to the Termination

                                  17   Class. Plaintiffs offer expert testimony that TCS involuntarily terminated between 896 and 1,116

                                  18   benched non-South Asian employees during the class period. (Neumark Rpt. ¶ 15, Tbls. 3.a-e.)

                                  19   Defendants do not challenge plaintiffs’ calculations, but instead argue that plaintiffs cannot

                                  20   provide a methodology for identifying members of the proposed class.23

                                  21            Defendant does not persuade in light of the Ninth Circuit’s holding in Briseno v. ConAgra

                                  22   Foods, Inc., 844 F.3d 1121 (9th Cir. 2017). There, the Court held that “Rule 23 does not impose a

                                  23   freestanding administrative feasibility prerequisite to class certification,” and courts should “hew[]

                                  24   closely to the text of Rule 23.” Briseno, 844 F.3d at 1126. Accordingly, TCS’ reliance on the

                                  25   ascertainability criteria cited in Senne v. K.C. Royals Baseball Corp., 315 F.R.D. 523 (N.D. Cal.

                                  26
                                              23
                                                 Fundamentally, this argument is more aptly addressed as one of ascertainability, not
                                  27   numerosity. However, as defendants comingle their arguments regarding numerosity and
                                  28   ascertainability the Court will address ascertainability in this section.

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                                   1   2016), is misplaced because Senne was decided prior to the Ninth Circuit’s ruling in Briseno.

                                   2            With regard to the Termination Class, plaintiffs define the class based on three objective

                                   3   criteria, namely (i) race, (ii), national origin, and (iii) whether TCS terminated that employee from

                                   4   the bench during the class period. Defendant’s argument that the class is not ascertainable because

                                   5   proof of class membership requires self-identification of race and/or national origin fails because

                                   6   Rule 23 can be satisfied even where ascertaining class membership requires self-identification. See

                                   7   Briseno, 844 F.3d at 1132.

                                   8                   3.      Typicality

                                   9            As to the Termination Class, the Court finds that plaintiffs have made a sufficient showing

                                  10   of typicality. To satisfy typicality, plaintiffs must establish that the “claims or defenses of the

                                  11   representative parties are typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3).

                                  12   Defendant does not dispute that (i) Termination Class representative Slaight is not of South Asian
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                                  13   race or Indian national origin, or that he was (ii) employed by TCS in the United States, (iii)

                                  14   placed in an unallocated status, and (iv) terminated during the class period. Instead, TCS argues

                                  15   that Slaight cannot “cite any evidence that their grievances were the result of race or national

                                  16   origin discrimination.” (Dkt. No. 127 at 21.)

                                  17            Defendant ignores the substantial evidence of TCS’ pattern and practice of favoring

                                  18   benched expats who are predominantly South Asian in mapping such employees to open client

                                  19   projects. TCS also overlooks the fact that employees which remain on the bench for a prolonged

                                  20   period of time are proposed for termination. The fact that TCS has articulated non-discriminatory

                                  21   reasons for terminating Slaight does defeat typicality because such justifications “are merely

                                  22   alternative explanations for the alleged discrimination, and it is ‘always the defendant’s contention

                                  23   in class action discrimination claims[] that the plaintiffs suffered no discrimination, or at least that

                                  24   any discrimination that occurred was isolated rather than systematic.’” Ellis, 285 F.R.D. 492, 535

                                  25   (quoting Velez v. Novartis Pharms. Corp., 244 F.R.D. 243, 268 (S.D.N.Y. 2007)).

                                  26   //

                                  27   //

                                  28   //
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                                   1                  4.      Adequacy

                                   2          Rule 23(a)’s adequacy requirement considers “(1) [whether] the representative plaintiffs

                                   3   and their counsel have any conflicts of interest with other class members, and (2) [if] the

                                   4   representative plaintiffs and their counsel [will] prosecute the action vigorously on behalf of the

                                   5   class.” Staton v. Boeing, 327 F.3d 938, 957 (9th Cir. 2003). With regard to the Termination

                                   6   Class, defendant does not argue that Slaight has a conflict of interest with other class members or

                                   7   that he will not prosecute the action vigorously. Instead, TCS argues that Slaight is not an

                                   8   adequate class representative because he “freely admits that he was not discriminated against.”

                                   9   (Dkt. No. 127 at 22.) The Court finds that TCS’ characterization of Slaight’s testimony is not

                                  10   quite accurate. During his deposition, Slaight was unable to identify “any facts that would

                                  11   establish that [his] termination was based on the fact that [he was] white.” (Dkt. No. 105-7,

                                  12   Deposition of Christopher Slaight (“Slight Dep.”) at 161:15-18.) Slaight’s inability to identify
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                                  13   facts supporting his claim is different than “freely admit[ting]” that his claim fails. Further, at the

                                  14   time of Slaight’s deposition TCS had not produced many of the documents which describe TCS’

                                  15   apparent corporate directive to favor visa-ready individuals and expats. See Section III.C.2, supra.

                                  16   Accordingly, Slaight’s inability to identify “facts that would establish” that Slaight was terminated

                                  17   due to his race or national original during a deposition which occurred before the conclusion of

                                  18   fact discovery does not render Slaight an inadequate representative for the Termination Class.24

                                  19
                                              24
                                                  TCS further argues that Slaight cannot represent the Termination Class because he did
                                  20   not file a timely Charge of Discrimination with the EEOC. To proceed under Title VII, a Charge
                                  21   of Discrimination must be filed with the EEOC no more than 180 days from the allegedly
                                       unlawful act. 42 U.S.C. §2000e-5(e)(1). Fundamentally, this argument is more aptly addressed as
                                  22   one of standing, not adequacy.
                                                In any event, defendant’s argument fails because plaintiffs are entitled to rely on the timely
                                  23   EEOC filing of Heldt, the original named plaintiff in the action. Dukes v. Wal-Mart Stores Inc.,
                                       2002 U.S. Dist. LEXIS 28984, at *35 (permitting plaintiffs to piggyback on EEOC charge of
                                  24   former named plaintiff); see also Parra v. Bashas’, Inc., 291 F.R.D. 360, 383-84 (D. Ariz. 2013)
                                  25   (finding adequacy satisfied despite named plaintiff’s failure to exhaust administrative remedies
                                       because named plaintiff was entitled to “piggy-back onto the EEOC charge” of other plaintiffs).
                                  26   Heldt’s Charge of Discrimination with the EEOC addressed both hiring and terminations. (See
                                       DKt. No. 25-1 ¶ 4). Further, defendant’s standing argument will be muted once plaintiffs file an
                                  27   amended complaint which adds Mandili because plaintiffs offer unrebutted evidence that
                                       Mandili’s EEOC filing was timely. (Dkt. No. 191, Notice of EEOC Action, Ex. A.)
                                  28
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                                   1          Additionally, plaintiffs’ counsel, Kotchen & Low LLP, have experience litigating class

                                   2   action claims in both federal and state courts, and appear to have been prosecuting this action

                                   3   vigorously. Defendant raises no arguments to the contrary. Therefore, the Court finds that Slaight

                                   4   and his counsel have satisfied the adequacy requirement under Rule 23(a)(4).

                                   5                  5.      Superiority

                                   6          Lastly, Rule 23(b)(3) requires a finding that a class action is superior to individual suits.

                                   7   To make this determination, the Court considers the following four non-exhaustive factors: (1) the

                                   8   interests of members of the class in individually controlling the prosecution or defense of separate

                                   9   actions; (2) the extent and nature of any litigation concerning the controversy already commenced

                                  10   by or against the members of the class; (3) the desirability of concentrating the litigation of the

                                  11   claims in the particular forum; and (4) the difficulties likely to be encountered in the management

                                  12   of a class action. Fed. R. Civ. P. 23(b)(3)(A)–(D). “Where classwide litigation of common issues
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                                  13   will reduce litigation costs and promote greater efficiency, a class action may be superior to other

                                  14   methods of litigation.” Valentino v. Carter-Wallace, Inc., 97 F.3d. 1227, 1235 (9th Cir. 1996).

                                  15          The Court finds that a liability determination during Phase One will resolve for the

                                  16   Termination Class as a whole the question of whether TCS engages in a pattern and practice of

                                  17   discrimination, thus obviating the need for further litigation on this issue, saving judicial and class

                                  18   member resources, and avoiding the possibility of inconsistent judgments. See Bell v. PNC Bank,

                                  19   Nat’l Assoc., 800 F.3d 360, 379-80 (7th Cir. 2015) (noting that if the class prevails in establishing

                                  20   that defendant had an illegal policy, individual class member trials may follow, but “[a]t least it

                                  21   will not be necessary in each of those trials to determine whether [the defendant] had an illegal

                                  22   policy” affecting the class). In addition, while the potential recovery for putative class members is

                                  23   not trivial, potential class members may not be able to afford the substantial upfront costs of

                                  24   litigating a complex discrimination case against a multi-national corporate defendant. Individual

                                  25   expenses could nullify any potential recovery. Under these circumstances, “few potential class

                                  26   members could afford to undertake individual litigation . . . [and] few class members would have

                                  27   any meaningful redress against [TCS] as a practical matter.” Chamberlan v. Ford Motor Co., 223

                                  28
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                                   1   F.R.D. 524, 527 (N.D. Cal. 2004).25

                                   2          TCS’ main argument here hinges on its assertion that superiority is “diminished by the

                                   3   sheer volume of individualized inquiries necessary to . . . establish individual recovery.”

                                   4   Defendant does not persuade. Although individualized inquires will necessarily remain after Phase

                                   5   One, the remaining questions will be greatly narrowed because the threshold question of whether

                                   6   TCS maintained a pattern and practice of discriminating against non-South Asian employees will

                                   7   have been be resolved on a classwide basis. By trying Phase One a classwide basis, the Court and

                                   8   the parties will achieve significant efficiencies by eliminating the need to litigate the overarching

                                   9   pattern or practice issue for each individual plaintiff.

                                  10          Accordingly, the Court GRANTS plaintiffs’ motion for class certification of the

                                  11   Termination Class and DENIES the motion as to the Hiring Class. In light of the Court’s ruling, the

                                  12   motion to certify a class under Rule 23(c)(4) is DENIED as moot.
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                                  13                  6.      Injunctive Relief Class

                                  14          Rule 23(b)(2) allows a Court to certify a class when the requirements of Rule 23(a) are

                                  15   satisfied and the defendant “has acted or refused to act on grounds that apply generally to the

                                  16   class, so that final injunctive or corresponding declaratory relief is appropriate respecting that class

                                  17   as a whole.” Fed. R. Civ. P. 23(b)(2). District courts may certify both a 23(b)(2) class for the

                                  18   portion of the case concerning injunctive and declaratory relief and a 23(b)(3) class for the portion

                                  19   of the case requesting monetary damages. See Newberg on Class Actions § 4:38 (5th ed. 2017);

                                  20   see, e.g., Barrett v. Wesley Fin. Grp., LLC, No. No. 13-CV-554-LAB, 2015 WL 12910740, at *6–

                                  21   7 (S.D. Cal. Mar. 30, 2015) (certifying both classes in the context of the TCPA); Kavu, 246 F.R.D.

                                  22   at 649 (same). However, “[c]lass certification under Rule 23(b)(2) is appropriate only where the

                                  23   primary relief sought is declaratory or injunctive.” Ellis, 657 F.3d at 986 (citation omitted).

                                  24

                                  25          25
                                                 TCS argues that given the amounts which have been demanded in individual settlement
                                  26   negotiations it is clear that each putative class member has a strong interest in controlling her own
                                       action. However, settlement demands do not necessarily reflect the value of each plaintiff’s case.
                                  27   Further, settlement discussions are privileged and do not constitute evidence which this Court may
                                  28   consider.

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                                   1   “Although the Ninth Circuit previously held that, in Rule 23(b)(2) cases, monetary damage

                                   2   requests were generally allowable if they were incidental to the litigation, the Supreme Court has

                                   3   called this standard into doubt.” Barrett, 2015 WL 12910740, at *6 (citing Wal-Mart, 131 S. Ct.

                                   4   at 2560).

                                   5          Here, the large amount of potential liability undermines the proposition that declaratory or

                                   6   injunctive relief is primary to plaintiffs’ action. However, in cases “where a plaintiff seeks both

                                   7   declaratory and monetary relief, [courts] may certify a damages-seeking class under Rule 23(b)(3),

                                   8   and an injunction-seeking class under Rule 23(b)(2).” Barrett, 2015 WL 12910740, at *7 (citing

                                   9   Wang v. Chinese Daily News, Inc., 737 F.3d 538, 544 (9th Cir. 2013)). The Court finds that

                                  10   certifying the classes here as both damages-seeking classes under Rule 23(b)(3) and injunctive

                                  11   relief only classes under Rule 23(b)(2) is appropriate and promotes judicial efficiency. In the

                                  12   event that plaintiffs are able to demonstrate liability, but ultimately fail to establish classwide
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                                  13   damages, the Court may still enter an injunction against defendant.

                                  14          Accordingly, the Court finds that plaintiffs have satisfied the requirements for certification

                                  15   under Rule 23(b)(2).

                                  16          E.      Motion for Summary Judgment as to Plaintiff Brian Buchanan

                                  17          Having granted plaintiffs’ motion for class certification as to the Termination Class,

                                  18   defendant’s motion for summary judgment as to plaintiff Slaight is “premature.” Colindres, 2004

                                  19   WL 3690215, at *6. However, in light of the denial of class certification regarding the Hiring

                                  20   Class, the Court proceeds to analyze defendant’s motion for summary judgment as to plaintiff

                                  21   Buchanan.

                                  22          Defendant argues that TCS is entitled to summary judgment with regard to Buchanan

                                  23   because Buchanan cannot show that “he applied and was qualified for a job for which [TCS] was

                                  24   seeking applicants.” Chavez v. Tempe Union High Sch. Dist. No. 213, 565 F.2d 1087, 1091 (9th

                                  25   Cir. 1977) (quoting McDonnell Douglas, 411 U.S. at 793). Specifically, defendant highlights that

                                  26   Buchanan (i) failed to attend TCS town hall meetings; (ii) admitted that his only application was

                                  27   dropping off his resume at a TCS job fair, and (iii) cannot identify a single available job at TCS

                                  28   for which he was qualified.
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                                   1          As an initial matter, the Court notes that because TCS has failed to rebut plaintiffs’ prima

                                   2   facie case of pattern and practice discrimination, Buchanan is entitled to an “inference that any

                                   3   particular employment decision, during the period in which the discriminatory policy was in force,

                                   4   was made in pursuit of that policy.” Teamsters 341 U.S. at 361. Drawing all reasonable

                                   5   inferences in favor of the non-moving party, the Court finds that plaintiffs raise triable issues as to

                                   6   Buchanan’s claims. First, the record reflects that Buchanan was a highly qualified system

                                   7   integrator with 25 years of relevant experience in the field. (See Dkt. No. 199, Ex. 79 at

                                   8   SCE000150 (SCE employee performance appraisal commending Buchanan for continuing to

                                   9   “look[] for ways to improve his technical ability and stay on top of the latest tech trends” even

                                  10   after 25 years of service with the company). Further, Buchanan was a strong performer in his

                                  11   previous role at SCE. (See id., Ex. 77 at SCE000125; Ex. 78 at SCE000134-45.) Second,

                                  12   Buchanan testified that he attended a TCS job fair in pursuit of a job. (Dkt. No. 120-5, Ex. 34,
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                                  13   Deposition of Brian Buchanan (“Buchanan Dep.) at 60:22-61:24.) According to Buchanan, SCE

                                  14   arranged the job and informed Buchanan that dozens of employers including systems integration

                                  15   firms such as TCS and Infosys would be attending and “may even be doing . . . on the spot

                                  16   interviews, so be prepared." (Buchanan Dep. at 60:25-61:8.) Buchanan recalled participating in

                                  17   an informal interview with at least one employer at the job fair. (Id. at 68:4-16.) Third, Buchanan

                                  18   testified that the two TCS representatives rebuffed him at the job fair by speaking Hindi as they

                                  19   ignored him. Specifically, plaintiffs introduce unrebutted testimony that TCS’ representatives

                                  20   were “dismissive,” showed little interest in accepting Buchanan’s resume, and never contacted

                                  21   Buchanan regarding his application. (Id. at 60:22-61:24, 70:19-71:5.) The Court finds plaintiffs’

                                  22   showing sufficient to establish a triable issue as to whether Buchanan “applied and was qualified

                                  23   for a job for which TCS was seeking applicants.” Chavez, 565 F.2d at 1091

                                  24          In any event, even if Buchanan did not actually apply for a job at TCS he could still be

                                  25   entitled to relief if he was deterred from applying due to TCS’ discriminatory practices and

                                  26   policies. See Teamsters, 431 U.S. at 368. Here, evidence in the record suggests the conduct of

                                  27   TCS’ representatives at the job fair may have deterred Buchanan from (i) inquiring further with

                                  28   regard to open positions for which he was qualified and (ii) applying to such positions.
                                                                                         41
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                                   1   (Buchanan Dep. at 60:22-61:24, 70:19-71:5.)

                                   2            Therefore, defendant’s motion for summary judgment as to Buchanan is DENIED.

                                   3   IV.      CONCLUSION

                                   4            For the reasons discussed above, the Court ORDERS as follows:

                                   5            1. Plaintiffs’ motion for leave to file a fourth amended complaint is GRANTED IN PART as

                                   6               to amending to add Seyed Amir Masoudi and Nobel Mandili as named plaintiffs;

                                   7               DENIED IN PART as to adding Steven Webber. Plaintiffs shall file a fourth amended

                                   8               complaint by Monday, January 8, 2018. Defendant shall respond by Monday,

                                   9               January 22, 2018.

                                  10            2. Defendants’ motion to exclude the expert opinion of Dr. Neumark is DENIED.

                                  11            3. Defendants’ motion for summary judgment is DENIED as premature as to plaintiff

                                  12               Christopher Slaight and DENIED as to plaintiff Brian Buchanan.
Northern District of California
 United States District Court




                                  13            4. Plaintiffs’ motion for class certification is GRANTED as to the proposed Termination

                                  14               Class and DENIED as to the proposed Hiring Class.

                                  15            5. The Court APPOINTS plaintiffs’ counsel, Kotchen & Low, as class counsel.

                                  16            A case management conference is hereby scheduled for January 29, 2018 at 2:00 p.m. in

                                  17   the United States Federal Courthouse in Oakland, Courtroom One.

                                  18            This terminates Dkt. Nos. 104, 106, 107, 115, 125, 126, 194

                                  19            IT IS SO ORDERED.

                                  20   Dated:        December 27, 2017

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                                                                                                   YVONNE GONZALEZ ROGERS
                                  23                                                               UNITED STATES DISTRICT JUDGE
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